           Case 20-30891-jal               Doc 1        Filed 03/13/20             Entered 03/13/20 20:51:31                  Page 1 of 81




United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

Case number ~rfknown~                                                    Chapter      7
                                                                                                                     ❑ Check if this an
                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      o2~20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known), For more information, a separate document,Instructions for Bankrupfcy Forms for Non-Individuals, is available.


1.   Debtor's name                        Solutions of Kentucky, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employertdentification      XX-XXXXXXX
     Number(EIN)


4.   Debtor's address            Principal place of business                                  Mailing address, if different from principal place of
                                                                                              business

                                 9850 Von Allmen Court
                                 Ste. 201
                                 Louisville, KY 40241
                                 Number, Street, City, State &ZIP Code                        P.O. Box, Number, Street, City, State &ZIP Code

                                 Jefferson                                                    Location of principal assets, if different from principal
                                                                                              place of business

                                                                                              Number, Street, City, State &ZIP Code


5.   Debtor's website(URL)                com


6.   Type of debtor               ■Corporation (including Limited Liability Company(LLC)and Limited Liability Partnership (LLP))
                                  ❑ Partnership (excluding LLP)
                                  ❑ Other. Specify:




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 1
           Case 20-30891-jal                   Doc 1        Filed 03/13/20               Entered 03/13/20 20:51:31                           Page 2 of 81


Debtor    System Solutions of Kentucky, LLC                                                           Case number (if known)
          Name


7.   Describe debtor's business A. Check one:
                                       ❑ Health Care Business(as defined in 11 U.S.C.§ 101(27A))
                                       ❑ Single Asset Reai Estate (as defined in 11 U.S.C.§ 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C.§ 101(44))
                                       ❑ Stockbroker(as defined in 11 U.S.C.§ 101(53A))
                                       ❑ Commodity Broker(as defined in 11 U.S.C.§ 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C.§ 781(3))
                                       ■ None of the above

                                       B. Check all that apply
                                       ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3333

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            ~ Cha ter 7
     debtor filing?                         P
                                       ❑ Chapter 9
                                       ❑ Chapter 11. Check ail that apply:
                                                           ❑     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625(amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                           ❑     The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C.§ 1116(1)(8).
                                                           ❑     The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                           ❑     A plan is being filed with this petition.
                                                           ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C.§ 1126(b).
                                                           ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201 A)with this form.
                                                           ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       ❑ Chapter 12

9.   Were prior bankruptcy             ■ No.
     cases filed by or against
     the debtor within the last 8      ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                 Case number
                                                District                                  When                                 Case number

10. Are any bankruptcy cases           ■ No
    pending or being filed by a
    business partner or an             ❑Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                    Relationship
                                                District                                  When                            Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
           Case 20-30891-jal               Doc 1         Filed 03/13/20              Entered 03/13/20 20:51:31                       Page 3 of 81


Debtor    System Solutions of Kentucky, LLC                                                      Case number (if known)
          Name


11. Why is the case filed in    Check all that apply:
    this district?
                                ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      ■ No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                ❑Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention?(Check all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, orsecurities-related assets or other options).
                                           ❑ Other
                                           Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                           Is the property insured?
                                           ❑ No
                                           ❑ Yes. Insurance agency
                                                     Contact name
                                                     Phone


_ Statistical and administrative information

13. Debtor's estimation of              Check one:
    available funds
                                        ❑ Funds will be available for distribution to unsecured creditors.

                                        ■ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ❑ 1-49                                          ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ❑ 50-99                                         ❑ 5001-10,000                              ❑ 50,001-100,000
                                ■ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                ❑ 200-999

15. Estimated Assets            ❑ $0 - $50,000                                  ■ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                O $100,001 - $500,000                           ❑ $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion


16. Estimated liabilities       ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ■ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 20-30891-jal                Doc 1         Filed 03/13/20              Entered 03/13/20 20:51:31                      Page 4 of 81


Debtor    System Solutions of Kentucky, LLC                                                       Case number(ifknown)
          Name


_ Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   have been authorized to file this petition on behalf of the debtor.

                                   have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       March 13, 2020
                                                   MM/DD/YYYY


                             J( /s/ David budding                                                        David budding
                                Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X /s/ Mary L. Fullington                                                     Date March 13, 2020
                               Signature of attorney for debtor                                                MM/DD/YYYY

                                 Mary L. Fulli
                                 Printed name

                                 Wyatt, Tarrant &Combs, LLP
                                 Firm name

                                 250 W. Main Street
                                 Suite 1600
                                 Lexington, KY 40507
                                 Number, Street, City, State &ZIP Code


                                 Contact phone      859- 233-2012                Email address      lexbankruptcy@wyattfirm.com


                                  KY
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
         Case 20-30891-jal                      Doc 1           Filed 03/13/20               Entered 03/13/20 20:51:31            Page 5 of 81




   Debtor name        System Solutions of Kentucky, LLC

   United States Bankruptcy Court for the:          WESTERN DISTRICT OF KENTUCKY

   Case number (if known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing



  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12115

 An individual who is authorized to act on behalf of anon-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.§§ 152, 1341,
  1519, and 3571.



 Declaration and signature
-

          am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

           have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          ~        Schedule AB:Assets—Real and Personal Property (Official Form 206A/B)
          ~        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          ~        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          ~        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          ~        Schedule H: Codebtors (Official Form 206H)
          ~        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          ❑        Amended Schedule
          ❑        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          ❑        Other document that requires a declaration

          declare under penalty of perjury that the foregoing is true and correct.

          Executed on         March 13, 2020                        X /s/ David budding
                                                                      Signature of individual signing on behalf of debtor

                                                                      David budding
                                                                      Printed name

                                                                      CFO
                                                                      Position or relationship to debtor




  Official Form 202                                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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        Case 20-30891-jal                                  Doc 1                Filed 03/13/20                           Entered 03/13/20 20:51:31                                      Page 6 of 81



 Debtor name            System Solutions of Kentucky, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                                                                   ❑ Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

              Summary of Assets


 1.    Schedule A/B:Assets-Real and Personal Property (Official Form 206A/B)

       1 a. Real property:
            Copy line 88 from Schedule AB.............................................................................................................................                  $                     0.00

       1 b. Total personal property:
            Copy line 91A from Schedule A/8.........................................................................................................................                    $         5,987,599.32

       1c. Total of all property:
           Copy line 92 from Schedule A/8...........................................................................................................................                    $         5,987,599.32


              Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       21,250,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      2$,991,677.98


4.     Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        50,241,677.98




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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        Case 20-30891-jal                       Doc 1           Filed 03/13/20       Entered 03/13/20 20:51:31                        Page 7 of 81



i Debtor name        System Solutions of Kentucky, LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing



Official Form 206A/B
Schedule A/B: Assets -Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G:Executory Contracts and Unexpired Leases(Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules,such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. in valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
             Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     ❑ No. Go to Part 2.
     ■ Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.         Cash on hand                                                                                                                                   $0.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                            Last 4 digits of account
                                                                                                           number


           3.1. CIBC Bank USA                                              Disbursement Account            4090                                           $0.00




           3.2. CIBC Bank USA                                              Operating Account           6106                                               $0.00




           3.3. Wells Fargo Bank                                           Payroll Account                 8134                                           $0.00



4.         Other cash equivalents (Identify all)


           4.1.    N/A                                                                                                                                    $0.00




5.         Total of Part 1.                                                                                                                         $0.00
           Add lines 2 through 4(including amounts on any additional sheets). Copy the total to line 80.

             Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                         Schedule A/B Assets -Real and Personal Property                                            page 1
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        Case 20-30891-jal                       Doc 1           Filed 03/13/20           Entered 03/13/20 20:51:31         Page 8 of 81



 Debtor         System Solutions of Kentucky, LLC                                                 Case number (ifknown~
                Name

     ❑ No. Go to Part 3.
     ■ Yes Fiil in the information below.

7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.    None                                                                                                                   $0.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1. Q2 Chamberlain Storage Unit Lease #3701                                                                             $3,436.00




9.         Total of Part 2.                                                                                                     $3,436.00
           Add lines 7 through 8. Copy the total to line 81.

            Accounts receivable
10. Does the debtor have any accounts receivable?

     ❑ No. Go to Part 4.
     ■ Yes Fill in the information below.

 11.       Accounts receivable
           11 a. 90 days old or less:                               11,640.12   -                                ~ ~1              $11,640.12
                                                   amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                      20,212,295.22            -                    20,212,295.22 =....                  $0.00
                                             face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                    $11,640.12
           Current value on lines 11a + 11b =line 12. Copy the total to line 82.

            Investments
13. Does the debtor own any investments?

     ■ No. Go to Part 5.
     ❑ Yes Fill in the information below.


            Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     ■ No. Go to Part 6.
     ❑ Yes Fill in the information below.


            Farming and fishing-related assets(other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets(other than titled motor vehicles and land?

     ■ No. Go to Part 7.
     ❑ Yes Fill in the information below.


Official Form 206A/B                                         Schedule A/B Assets -Real and Personal Property                              page 2
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        Case 20-30891-jal                       Doc 1           Filed 03/13/20       Entered 03/13/20 20:51:31               Page 9 of 81



 Debtor         System Solutions of Kentucky, LLC                                            Case number ~itknown~
                Name


            Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ❑ No. Go to Part 8.
    ■ Yes Fili in the information below.

           General description                                               Net book value of       Valuation method used   Current value of
                                                                             debtor's interest       for currentvalue        debtor's interest
                                                                             (Where available)

 39.       Office furniture
           None                                                                            $0.00                                              $0.00



40.        Office fixtures
           None                                                                            $0.00                                              $0.00



41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           See Attachment A/B Assets/Office Equipment                                      $0.00                                       $13,400.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           a2.1. None                                                                      $0.00                                              $0.00




43.        Total of Part 7.                                                                                             !             $13,400.00
           Add lines 39 through 42. Copy the total to line 86.                                                          ~

44.        Is a depreciation schedule available for any of the property listed in Part 7?
           ■ No
           ❑ Yes

45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
            ■ No
            ❑ Yes

             Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ■ No. Go to Part 9.
    ❑ Yes Fill in the information below.


            Real property
54. Does the debtor own or lease any real property?

    ■ No. Go to Part 10.
    ❑ Yes Fill in the information below.


'~i         Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    ❑ No. Go to Part 11.

Official Form 206A/B                                         Schedule A/B Assets -Real and Personal Property                                  page 3
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       Case 20-30891-jal                       Doc 1           Filed 03/13/20       Entered 03/13/20 20:51:31               Page 10 of 81



 Debtor         System Solutions of Kentucky, LLC                                            Case number ~irknown~
                Name

    ■ Yes Fiil in the information below.

           General description                                              Net book value of       Valuation method used    Current value of
                                                                            debtor's interest       for current value        debtor's interest
                                                                            (Where available).

60.        Patents, copyrights, trademarks, and trade secrets
           Conveying apparatus                                                             $0.00                                              $0.00



61.        Internet domain names and websites
           ssofky.com                                                                      $0.00                                              $0.00



62.        Licenses,franchises, and royalties
           Quickbooks license                                                              $0.00                                              $0.00



63.        Customer lists, mailing lists, or other compilations
           None                                                                            $0.00                                              $0.00



64.        Other intangibles, or intellectual property
           None                                                                            $0.00                                              $0.00



65.        Goodwill
           None                                                                            $0.00                                              $0.00




66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41 A) and 107?
           ■ No
           ❑ Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
           ■ No
           ❑ Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
           ■ No
           ❑ Yes

'~i~ All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    include all interests in executory contracts and unexpired leases not previously reported on this form

    ❑ No. Go to Part 12.
    ■ Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
Official Form 206A/B                                         Schedule A/B Assets -Real and Personal Property                                  page 4
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       Case 20-30891-jal                        Doc 1           Filed 03/13/20       Entered 03/13/20 20:51:31                Page 11 of 81



 Debtor         System Solutions of Kentucky, LLC                                            Case number (itknown~
                Name


                                                                                   0.00 -                                0.00 =
            None                                                     Total face amount    doubtful or uncollectible amount                    $0.00



72.        Tax refunds and unused net operating losses(NOLs)
           Description (for example,federal, state, local)
            New Jersey                                                                         Tax year                              $146,000.00



            New Mexico                                                                         Tax year                                $12,732.00



           Pennsylvania                                                                        Tax year                                $20,107.00



73.        Interests in insurance policies or annuities
            None                                                                                                                              $0.00



74.        Causes of action against third parties(whether or not a lawsuit
           has been filed)
           Claim against W.M. Kelley Co.                                                                                           $1,407,746.57
           Nature of claim          Unearned pre-payment and
                                    unused parts supplied
           Amount requested                     $1,407,746.57



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           None                                                                                                                                $0.00
           Nature of claim
           Amount requested                                            $0.00



76.        Trusts, equitable or future interests in property
            None                                                                                                                               $0.00



77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Intercompany transaction account between SSK and
           Lummus shows owed to SSK. See Notes.                                                                                    $4,372,537.63




 78.       Total of Part 11.                                                                                                      $5,959,123.20
           Add lines 71 through 77. Copy the total to line 90.

 79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          ■ No
          ❑ Yes
Official Form 206A/B                              Schedule A/B Assets -Real and Personal Property                                             page 5
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       Case 20-30891-jal                           Doc 1            Filed 03/13/20                      Entered 03/13/20 20:51:31                         Page 12 of 81



 Debtor         System Solutions of Kentucky, LLC                                                                   Case number ~~tknown)
                 Name



                Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                             Current value of                      Current value of real
                                                                                                   personal property                     property

80. Cash,cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $3,436.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $11,640.12

83. Investments. Copy line 77, Part 4.                                                                                      $0.00

84. inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $13,400.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                  +               $5,959,123.20
                                                                                                                                                                            1
 91. Total. Add lines 80 through 90 for each column                                                        $5,987,599.32            + 91 b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,987,599.32




Official Form 206A/B                                              Schedule A/B Assets -Real and Personal Property                                                               page 6
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Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 13 of 81




                                 Attachment AB

                            Assets/Office Equipment
    Case 20-30891-jal     Doc 1    Filed 03/13/20    Entered 03/13/20 20:51:31      Page 14 of 81


•                              ..-
        7 Dell                  monitors                              50     350.00 back left sh
        4 Wireless keyboard                                           10      40.00 back left sh
        1 cartridge                                                   20      20.00 back left sh
miscellaneous box docking stations                                            10.00 back left sh
           BOX OF PHONES                                                      30.00 back left sh
           Nothing                                                              -   shelf 3
        6 monitors                                                    50     300.00 shelf 4
miscellaneous box docking stations                                            75.00 shelf 5
miscellaneous box docking stations                                            75.00 shelf 5
        1 DELL                  LATITUDE 5590         4KZJSQ2    $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         J17KSQ2    $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         H924TQ2    $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         6C24TQ2    $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         6MMKTQ2 $250.00        250.00 shelf 5
        1 DELL                  LATITUDE 5590         GGM6QQ2 $250.00        250.00 shelf 5
        1 DELL                  LATITUDE 5590         1C97QQ2    $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         HW4P2H     $250.00     250.00 shelf 5
        1 DELL                  Lattitude 5570        4Y4P2H     $250.00     250.00 shelf 5
        1 DELL                  LATITUDE 5590         9X4P2H2    $250.00     250.00 shelf 5
        1 Dell                  Precision tower 8910 6w01byw1 $500.00        500.00 back pallet
        1 Dell                  Precision tower 8910 JK8SMT2     $500.00     500.00 back pallet
        1 Dell                  Precision tower 8910 JK8TMD2     $500.00     500.00 back pallet
        1 Dell                  Precision tower 8910 B78PC42     $500.00     500.00 back pallet
        1 Dell                  Precision tower 8910 C4CGKH2     $500.00     500.00 back pallet
        1 Alienware             Aurora  R7            GN4Z7M2  $1,000.00   1,000.00 BACK PALLS
        1 Alienware             Aurora R7             6N518M2 $1,000.00    1,000.00 BACK PALLS
        1 Alienware             Aurora R7             6NBW7M2 $1,000.00    1,000.00 BACK PALLi
        1 Alienware             Aurora  R7            6N508M2 $1,000.00    1,000.00 BACK PALLI
        5 HP                    MFP426                            $50.00     250.00 Back right c
        2 Cannon                Maxify MB2720                     $50.00     100.00 Back right c
        1 Dell                  monitor                           $50.00      50.00 RIGHT SHEI
        1 ACER                  monitor                           $50.00      50.00 RIGHT SHEI
        1 HANNS.G               monitor                           $50.00      50.00 RIGHT SHEI
        1 ASUS                  monitor                           $50.00      50.00 RIGHT SHEI
        1 MINUTE MAN BackuK                      1500 X//NAE581 $100.00      100.00 RIGHT SHEI
        1 DELL                  D11S                  GW6L662    $100.00     100.00 RIGHT SHEI
        1 ATT                   router                HS170413C $100.00      100.00 RIGHT SHEI
        1 Dell                  Monitor                           $50.00      50.00 RIGHT SHEI
        1 DELL                  Monitor                           $50.00      50.00 RIGHT SHEI
        4 DELL                  Monitor                           $50.00     200.00 Right 2 SHE
        5 DELL                  Monitor                           $50.00     250.00 right 2 SHEI
        3 DELL                  Monitor                           $50.00     150.00 right 2 SHEI
        1 Dell                  XPS 8910              1KKRHXI    $300.00     300.00 SHELF 3 LEA
        1 Samsung               Monitor                           $50.00      50.00 right front
         1 Asus                 Monitor                           $50.00      50.00 right front
         1 Dell                 XPS 8910              6XCZ9Y1    $300.00     300.00 FRONT SHE
Case 20-30891-jal   Doc 1   Filed 03/13/20    Entered 03/13/20 20:51:31   Page 15 of 81


    1 Dell             XPS 8910              B7LRC42   $300.00      300.00 FRONT SHE
    1 Dell             XPS 8910              JKFMHXI   $300.00      300.00 FRONT SHE
    1 Dell             XPS 8910              6WNY9Y1   $300.00      300.00 FRONT SHE
    1 Dell             XPS 8910              JKPLHXI   $300.00      300.00 FRONT SHE
    1 Dell             OPTIPLEX 5040         GW6L6B2    $50.00       50.00 FRONT SHE
                                                                 13,400.00
       Case 20-30891-jal                          Doc 1        Filed 03/13/20                Entered 03/13/20 20:51:31                      Page 16 of 81



Debtor name          System Solutions of Kentucky, LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                      ❑ Check if this is an
                                                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

      ■ Yes. Fill in all of the information below.

             List Creditors Who Have Secured Claims
                                                                                                                  Column A                   Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each Gaim.                                                                Amount of claim            Value of collateral
                                                                                                                                             that supports this
                                                                                                                  Do not deduct the value    claim
                                                                                                                  of collateral.
2.1    CIBC Bank USA                                 Describe debtor's property that is subject to a lien              $21,250,000.00          $5,987,599.32
       Creditor's Name                               All assets
       3343 Peachtree Rd Ste. 750
       Attn: Timothy P. Roberts
       Atlanta, GA 30326
       Creditofs mailing address                     Describe the lien
                                                     Collateral Agreement dtd as of 12/28/17, &
                                                     related agreement securing CIBC debt.
                                                     is the creditor an insider or related party?
                                                     ~ No
       Creditors email address, if known             ❑ Yes
                                                     is anyone else liable on this claim?
       Date debt was incurred                        ❑ No
       12/28/2017                                    ~ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
       ~ No                                          ❑ Contingent
       ❑ Yes. Specify each creditor,                 ❑ Unliquidated
       including this creditor and its relative      ❑ Disputed
       priority.



                                                                                                                      ~ $21 250,000.
 g. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.        ~_ ~       00

            list Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20               Entered 03/13/20 20:51:31                                 Page 17 of 81



 Debtor name        System Solutions of Kentucky, LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                                   ❑ Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/8:Assets -Real and
Personal Property(Official Form 206AIB) and on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 7 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

              List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims?(See 11 U.S.C.§ 507).

          ~ No. Go to Part 2.

          ❑ Yes. Go to line 2.


             List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.                 $9HJ,575.35
           Accurate Electric, Inc.                                           ❑ Contingent
           2309 West Arbrook Blvd                                            ❑ Unliquidated
           Arlington, TX 76015                                               ❑ Disputed
           Dates) debt was incurred _
                                                                             Basis for the claim: GOOdS Or SeNiC2S prOvlded
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.2      ~ Nonpriority creditor's name and mailing address                  As of the petition filing date, the Claim iS: Check all that apply.                     Unknown
           Advance Fabricators                                               ~ Contingent
           980 Progress Blvd
                                                                             ~ Unliquidated
           New Albany, IN 47150
                                                                             ~ Disputed
           Dates) debt was incurred _
           Last4 digits of account number _                                  aas~s ror the cia~m: Contract damages
                                                                             Is the Gaim subject to offset? ~ No ❑Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check ail that apply.                        $85.17
           ADVANCED SOLUTIONS                                                ❑Contingent
           1901 Nelson Miller Pkwy                                           ❑ Unliquidated
           Louisville, KY 40223                                              ❑Disputed
           Dates) debt was incurred _                                        Basis for the claim: ~'i00dS Of S@1'VIC,eS pfOVld@d
           Last4 digits of account number _
                                                                             Is the Gaim subject to offset? ~ No ❑Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, th0 C18im is: Check all that apply.       _          $7H,092.27
           AHERN RENTALS                                                     ❑Contingent
           1401 Mineral Ave                                                  ❑ Unliquidated
           Las Vegas, NV 89106                                               ❑Disputed
           Dates) debt was incurred _                                        Basis for the claim: Goods or SeIVIC2s provided
           Last 4 digits of account number 3166
                                                                             Is the Gaim subject to offset? ~ No ❑Yes




Official Form 206E/F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                                       page 1 of 21
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                              Page 18 of 81


 Debtor      System Solutions of Kentucky, LLC                                                       Case number (if known)
              Name
 3.5     i Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $47,542.44
          AI International, Inc.                                            ❑ Contingent
          8055A National Turnpike                                           ❑ Unliquidated
          Louisville, KY 40214                                              ❑ Disputed
          Oates) debt was incurred _
                                                                            sass for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.6      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check ali that appry.             $2,200.00
          AIR COMPRESSOR WORKS                                              ❑Contingent
          7292 NW 25th Street                                               D unliquidated
          Miami, FL 33122                                                   ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or SefViCEs provided
          Last 4 digits of account number 6154
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.7      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $22,382.68
          Airgas USA CA                                                     ❑Contingent
          PO Box 7423                                                       ❑ Unliquidated
          Pasadena, CA 91109                                                ❑ oisputea
          Dates) debt was incurred _
                                                                            Basis for the claim: GOods Or SeNiC2s p~ovlded
          Last4 digits of account number 9269
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.8      Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.                 $$O.~ O
          Airgas USA GA                                                     ❑Contingent
          PO Box 532609                                                     ❑ unliquidated
          Atlanta, GA 30353                                                 ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: Goods or SeNiC.eS provided
          last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.9      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an tnat appry.              $2,044.93
          AIRGAS USA IL                                                     ❑Contingent
          PO Box 802576                                                     D Un~iquidated
          Chicago, IL 60680-2576                                            ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: Goods or SeNiCes provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.10     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Cneac an that apply.              $7,485.18
          Airgas USA TX                                                     ❑Contingent
          PO Box 676015                                                     ❑ Unliquidated
          Dallas, TX 75267                                                  ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS OC S2fviC@S pfOVld2d
          Last 4 digits of account number 9269
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.11     Nonpriority creditor's name and mailing address                   As of the petition filing date, th@ Claim i5: Check all that apply.        $2,257,541.77
          Alliant Technologies                                              ❑ Contingent
          2080 Nelson Miller Pkwy                                           ❑ Uniiquidated
          Louisville, KY 40223                                              ❑ Disputed
          Dates) debt was incurred _
                                                                            eases for me cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 21
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                                Page 19 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
~ 3.12    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appty.             $19,283.17
          Allied Electronics and Automation                                 ❑Contingent
          7151 Jack Newell Bivd S.                                          D Unliquidated
          Fort Worth, TX 76118                                              ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOCIS Of S61VIC2S pfOVid@d
          Last 4 digits of account number 5089
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an thar appty.           $2,212,445.00
          ARGI Building Group, LLC                                          ❑ Contingent
          2201 High Wickham Place                                           ❑ Unliquidated
          Louisville, KY 40245                                              ❑ Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: Lease
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the Cleirtl iS: Check a!I that apply.              Uf1I((lOWll
          ATRONIX Engineering, II1C.                                        ~ Contingent
          3100 Medlock Bridge Rd, Suite 110                                 ~ Unliquidated
          Peachtree Corners, GA 30071
          Dates) debt was incurred _                                        ~ Disputed

          Last 4 digits of account number _                                 Basis for the claim: C011ti'8Ct d81718g2S

                                                                            is the Gaim subject to offset? ~ No ❑Yes

 3.15     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Cl2im iS: Check all that apply.           $6ZO,961.00
          B&B COnv@yOrS LLC                                                 ❑Contingent
          1006 Turner Camp Road                                             ❑ Unliquidated
          Inverness, FL 34453                                               ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or SeNIC2S pfOVid@d
          Last 4 digits of account number
                                                                            is the claim subject to offset? ~ No ❑Yes

 3.16     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $22,506.64
          BABST, CALLAND, CLEMENTS & ZOMNIR,                                ❑Contingent
          P.C.                                                              ❑ Unliquidated
          6th FlOof                                                         ❑Disputed
          Pittsburgh, PA 15222
                                                                            Basis for the claim: GOOdS Or S21'VICeS pfOVid@d
          Dates) debt was incurred _
          Last 4 digits of account number 9021                              Is the Gaim subject to offset? ~ No ❑Yes

 3.17     Nonpriority creditor's name and mailing address                   As of the petition filing date, th2 CIBim is: Check all that apply.             $~J,48720
          Baxter Bailey &Associates, 111C.                                  ❑Contingent
          1630 Goodman Rd.                                                  ❑ uniiquidated
          SUItB 1                                                           ❑Disputed
          Southaven, MS 38671
                                                                            Basis for the claim: GOOdS Or S@PVIC2S pfOVld2d
          Date~s~ debt was incurred _
          Last 4 digits of account number _                                 Is the daim subject to offset? ~ No ❑Yes

 3.18     Nonpriority creditor's name and mailing address                   As of the petition £ling date, the Claim is: Check all that apply.              $ZS,969.17
          BDI                                                               ❑Contingent
          281 Shore Drive, Unit B                                           ❑ Unliquidated
          Burr Ridge, IL 60527                                              ❑Disputed
          Date~s~ debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2NICeS pfOVld@d
          Last 4 digits of account number 3932
                                                                            Is the claim subject to offset? ~ No ❑Yes




O~cial Form 206 E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 3 of 21
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         Case 20-30891-jal                   Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                              Page 20 of 81


Debtor      System Solutions of Kentucky, LLC                                                      Case number (if known)
             Name
3.19      Nonpriority creditor's name and mailing address                 As of the petition filing date, the Clalm i5: Check all that apply.          $24,591.67
          Bearing Headquarters                                            ❑Contingent
          PO Box 6267                                                     ❑ Unliquidated
          Broadview, IL 60155-6267                                        ❑Disputed
          Dates) debt was incurred _                                      eases for the cia~m: Goods or services provided
          Last a digits of account number 8014
                                                                          Is the Gaim subject to offset? ~ No ❑Yes

3.20      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check au that appry.          $188,429.14
          Bryant Products, Inc.                                           ❑ Contingent
          W1388 Elmwood Ave                                               ❑ Unliquidated
          Ixonia, WI 53036                                                ❑ Disputed
          Dates) debt was incurred _                                      Basis for the claim: Goods Or S2rViC2S proVlded
          Last 4 digits of account number _
                                                                          Is the claim subject to offset? ~ No ❑Yes

3.21      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that appty.         $1 10,740.56
          Cactus Welding, Inc.                                            ❑ Contingent
          13905 S. 154th St                                               ❑ Unliquidated
          Gilbert, AZ 85296                                               ❑ Disputed
          Dates) debt was incurred _                                      sasis for u,e claim: Goods or services provided
          Last 4 digits of account number _
                                                                          Is the Gaim subject to offset? ~ No ❑Yes

3.22     ~ Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that appty.            $3,854.91
          Cardinal Carryor                                                ❑ Contingent
          PO Box 32156                                                    ❑ Unliquidated
          Louisville, KY 40232                                            ❑ Disputed
          Dates) debt was incurred _                                      Basis for the claim: GOOdS Or Set'VIC2S pfOvid@d
          Last 4 digits of account number _
                                                                          Is the claim subject to offset? ~ No ❑Yes

3.23      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check an that appry.             $2,479.66
          CED, INC/E&H ELECTRIC SUPPLY                                    ❑Contingent
          PO Box 221229                                                   O Unliquidated
          Louisville, KY 40252                                            ❑Disputed
          Dates) debt was incurred _                                      Basis for the claim: Goods or SefviC2s provided
          Last 4 digits of account number 9443
                                                                          Is the claim subject to offset? ~ No ❑Yes

3.24      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that appty.           $12,281.40
          Central Expanded Metal                                          ❑ Contingent
          1213 N. Industrial Rd                                           ❑ Unliquidated
          Chandler, OK 74834                                              ❑ Disputed
          Dates) debt was incurred _                                      Bass for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                          Is the claim subject to offset? ~ No ❑Yes

i 3.25    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Checrc an that appry.            $1,556.54
          CINTAS CORPORATION N0.2                                         ❑Contingent
          PO Box 625737                                                   ❑ Unliquidated
          Cincinnati, OH 45262                                            ❑Disputed
          Dates) debt was incurred _                                      Basis for the claim: GOOdS Or SefVIC2S prOVided
          Last 4 digits of account number 1006
                                                                          is the claim subject to offset? ~ No ❑Yes




Official Form 206 E!F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 21
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                                Page 21 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
326       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au that apply.               $4,236.55
          CITY ELECTRIC SUPPLY CO.                                          ❑Contingent
          400 South Record Street, Ste. 300                                 ❑ Unliquidated
          Dallas, TX 75202                                                  ❑Disputed
          Date(s~ debt was incurred _                                       Basis for the claim: GOOdS Of S@NICKS p~OVld@d
          Last 4 digits of account number 0002
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, th@ Cleirtl iS: Check all that apply.         $343,135.00
          CL Ri2CkOff                                                       ❑Contingent
          26265 Northline Rd                                                ❑ Unliquidated
          Taylor, MI 48180                                                  ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2NIC8S p~OVlded
          last 4 digits of account number
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an that appry.               $7,241.83
          CONVEYOR CONCEPT                                                  ❑Contingent
          1110 Westcliffe Dr                                                ❑ Uniiquidated
          Little Rock, AR 72210                                             D Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2NIC2S pfOVld2d
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appry.             $13,076.56
          COPPER STATE BOLT &NUT CO.                                        ❑Contingent
          3622 N. 34th Ave                                                  ❑ Unliquidated
          Phoenix, AZ 85017                                                 ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS OC S8NIC2S pfOVid2d
          Last4 digits of account number ~2~~
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.30    j Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Cneck all tnat appty.             $15,429.36
          COYOTE LOGISTICS LLC                                              ❑Contingent
          2545 W Diversey Ave, 3rd Floor                                    ❑ Unliquidated
          Chicago, IL 60647                                                 ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOodS or S2NiC2s provided
          Last4 digits of account number SYSSOLKY
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.31     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.                 $65.00
          Dalmatian Fire                                                    ❑Contingent
          1651 Watterson Trail                                              ❑ Unliquidated
          Louisville, KY 40299                                              ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: Goods Or SeNiC2s provided
          Last 4 digits of account number 6989
                                                                            Is the claim subject to offset? ~ No ❑Yes

i 3.32    Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.             $31,804.69
          Delta Services                                                    ❑ Contingent
          4676 Jennings Ln                                                  ❑ Unliquidated
          Louisville, KY 40218                                              ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods or serviC2s provided
          Last 4 digits of account number SySt2fT1S
                                                                            Is the Gaim subject to offset? ■ No ❑Yes




O~cial Form 206 E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 5 of 21
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                                Page 22 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
              Name
 3.33     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.           $861,175.00
          Design Fabricators and Integrators                                ~ Contingent
          6600 Artisan Way
                                                                            ~ Unliquidated
          Louisville, KY 40228
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last4 digits of account number _                                  Basis for the claim: D21118g8S

                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.34     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.           $496,456.54
          DFW Conveyor LLC                                                  ❑ Contingent
          405 Bluebonnet Trail                                              ❑ Unliquidated
          Garland, TX 75043                                                 ❑ Disputed
          Oate~si debt was incurred _
                                                                            eases for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.35     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appry.             $14,095.00
          DG Industries                                                     ❑ Contingent
          PO Box 753                                                        ❑ Unliquidated
          Mt. Washington, KY 40447                                          ❑ Disputed
          Date(s~ debt was incurred _
                                                                            sasis for the claim: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.36     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appty.               $3,391.36
          Dragon Disposal, LLC                                              ❑ Contingent
          5207 N Black Canyon Hwy                                           ❑ Unliquidated
          Phoenix, AZ 85015                                                 ❑ Disputed
          Dates) debt was incurred _
                                                                            Bass for cne cia~m: Goods or services provided
          Last 4 digits of account number 4472
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.37     Nonpriority creditor's name and mailing address                   As of the petition filing date, th2 CIei~Tl iS: Check all that apply.           $39,101.25
          EASI, LLC                                                         ❑ Contingent
          PO Box 198531                                                     ❑ Unliquidated
          Atlanta, GA 30384-8531                                            ❑ Disputed
          Dates) debt was incurred _
                                                                            Bass for the cia~m: Goods or services provided
          Last 4 digits of account number
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.38     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all mat appty.      _    $1 ,700,832.15
          EMIT, Inc.                                                        ■Contingent
          315 Wilhagan Rd
                                                                            ~ Unliquidated
          Nashville, TN 37217
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 Basis for the claim: GOOdS Or S@NIC.eS pfOVld@d

                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.39    ~ Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check au tnat appty.                $3,264.52
          Equipment Depot LTD                                               ❑Contingent
          4820 Crittenden Dr, Suite 200                                     ❑ Uniiquidated
          Louisville, KY 40209                                              ❑Disputed
          oate~s) debt was incurred _
                                                                            Basis for the claim: Goods or services provided
          Last 4 digits of account number
                                                                            Is the claim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 6 of 21
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       Case 20-30891-jal                        Doc 1            Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 23 of 81


Debtor       System Solutions of Kentucky, LLC                                                         Case number (if known)
             Name
3.40      Nonpriority creditor's name and mailing address                     As of the petition filing date, th2 CIBim is: Check all that apply.              $2,240.76
          Everglades Steel Corporation                                        ❑ Contingent
          PO Box 667510                                                       ❑ Unliquidated
          Miami, FL 33166                                                     ❑ Disputed
          Dates) debt was incurred _                                          sass for the cia~m: Goods or services provided
          Last 4 digits of account number 8978
                                                                              Is the claim subject to offset? ~ No ❑Yes

3.41      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check air that appty.           $342,000.00
          FABTRATION, LLC                                                     ■ Contingent
          526 Maplewood Blvd
                                                                              ■ Unliquidated
          Georgetown, IN 47122
                                                                              ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                   aasis for the cia~m: Contract damages
                                                                              Is the claim subject to offset? ~ No ❑Yes

3.42      Nonpriority creditor's name and mailing address                     As of the petition filing date, the Claim i5: Check all that apply.             $53,979.48
          Fast Global Solutions                                               ❑Contingent
          PO BoX 249                                                          ❑ Unliquidated
          Glenwood, MN 56334-0231                                             ❑Disputed
          Dates) debt was incurred _
                                                                              Basis for the claim: GOOdS Or SeNIC.eS pfOVld2d
          Last 4 digits of account number SYSLOU
                                                                              Is the claim subject to offset? ~ No ❑Yes

3.43      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.             $22,449.79
          Fastenal                                                            ❑Contingent
          PO Box 1286                                                         ❑ unliquidated
          Winona, MN 55987-1286                                               ❑Disputed
          Dates) debt was incurred _                                          Basis for the claim: GOOdS OC S@fVIC2S pl'OVid@d
          Last4 digits of account number 0689
                                                                              Is the claim subject to offset? ~ No ❑Yes

3.44      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that appty.                 $935.00
          FEDEX FREIGHT                                                       ❑Contingent
          PO Box 223125                                                       ❑ Uniiquidated
          Pittsburgh, PA 15251-2125                                           ❑ Disputed
          Dates) debt was incurred _                                          Basis for the claim: GOOdS OC SG'NIC2S pfOVided
          Last 4 digits of account number 5491
                                                                              Is the Gaim subject to offset? ~ No ❑Yes

3.45      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check au that apply.              $27,614.26
          Ferrellgas                                                          ❑Contingent
          PO Box 173940                                                       ❑ unliquidated
          Denver, CO 80217-3940                                               ❑Disputed
          Dates) debt was incurred _                                          Basis for the claim: Goods Or SeCViC2S provided
          Last 4 digits of account number 8154
                                                                              Is the claim subject to offset? ~ No ❑Yes

3.46      Nonpriority creditor's name and mailing address                     As of the petition filing date, the Cl2iR1 iS: Check all that apply.   __     $'I $5,118.90
          Fives Intralogistics Corp                                           ❑Contingent
          500 East Burnett Ave                                                ❑ Unliquidated
          Louisville, KY 40217-1120                                           ❑Disputed
          Dates) debt was incurred _                                          Basis for the claim: GOOdS Of S2fViC2S prOVld2d
          Last 4 digits of account number 0061
                                                                              Is the Gaim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 7 of 21
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                                Page 24 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
 3.47     Nonpriority creditor's name and mailing address                   As of the petkion filing date, the claim is: Checkan tnatapp/y.                 $15,840.63
          FN Sheppard, Inc.                                                 ❑Contingent
          PO Box 18520                                                      ❑ Unliquidated
          Erlanger, KY 41018                                                ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods or services provided
          Last 4 digits of account number 8577
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.48     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.             $67,695.84
          FOfbO                                                             ❑Contingent
          8 Maplewood Drive                                                 D uni~q~~datea
          Humboldt Industrial Park                                          ❑Disputed
          Hazleton, PA 18202
                                                                            Basis for the claim: Goods or SeNIC@S prOVided
          Dates) debt was incurred _
          Last 4 digits of account number 8564                              Is the claim subject to offset? ~ No ❑Yes

 3.49     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au that apply.              $19,183.81
          Godfrey Propane                                                   ❑Contingent
          2947 W Division St                                                D Unliquidated
          Arlington, TX 76012                                               ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2fviC2S pfOVld2d
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

! 3.50    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $52,147.57
          Graing2r                                                          ❑Contingent
          1901 Plantside Dr                                                 ❑ Unliquidated
          Louisville, KY 40299                                              ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2NIC2S pfOVld@d
          Last 4 digits of account number 4021
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.51     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $273.01
          Gulf States Saw &Machine                                          ❑Contingent
          3416 Davey Allison Blvd                                           ❑ Unliquidated
          Hueytown, AL 35023                                                ❑ ~isputea
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or S@NiC2S prOvlded
          Last 4 digits of account number 4750
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.52     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.                   $76.3'I
          Habasit Belting                                                   ❑Contingent
          PO Box 277416                                                     ❑ Unliquidated
          Atlanta, GA 30384-7416                                            ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or SeNiCeS pfovid2d
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.53     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Cleirtl iS: Check all that apply.             $x},689.25
          Harbor Steel Supply                                               ❑Contingent
          PO Box 4250                                                       ❑ Un~iquidated
          Muskegon, MI 49444                                                ❑ oisputea
          Dates) debt was incurred _
                                                                            Basis for the claim: Goods or SeiViGes provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 8 of 21
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         Case 20-30891-jal                     Doc 1            Filed 03/13/20             Entered 03/13/20 20:51:31                              Page 25 of 81


Debtor         System Solutions of Kentucky, LLC                                                     Case number (if known)
                Name
3.54         Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply          $479,225.10
             HEC Manufacturing                                              ❑Contingent
             222 W. John Rowan                                              ❑ unliquidated
             Bardstown, KY 40004                                            ❑Disputed
             Dates) debt was incurred _                                     Basis for the claim: GOOds Or SeNiCeS provided
             Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

~ 3.55       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check an that appry.         $1 ,070,829.18
             Herc Rentals, Inc.                                             ❑ Contingent
             27500 Riverview Center Blvd, Ste. 100                          ❑ Unliquidated
             Bonita Springs, FL 34134                                       ❑ Disputed
             Dates) debt was incurred _
                                                                            Bass fog the cia~m: Goods or services provided
             Last 4 digits of account number 4651
                                                                            is the claim subject to offset? ~ No ❑Yes

3.56         Nonpriority creditor's name and mailing address                As of the petition Fling date, the Claim is: Check all that apply.    __      $33,157.77
             Holston Gases                                                  ~ Contingent
             368 Terry Blvd
                                                                            ~ Unliquidated
             Louisville, KY 40229
                                                                            ~ Disputed
             Dates) debt was incurred _
             Last 4 digits of account number 4949                           eases for the aa~m: Contract damages
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

~ 3_57       Nonpriority creditor's name and mailing address                As of the petition filing date, the Claim is: Check all that apply.   _        $6,042.31
             Hytrol Conveyor Co., If1C.                                     ❑Contingent
             2020 Hytrol St                                                 ❑ Unliquidated
             Jonesboro, AR 72401                                            ❑Disputed
             Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S81YIC2S pCOVidBd
             Last 4 digits of account number 9939
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.58         Nonpriority creditor's name and mailing address                As of the petition filing date,the Claltn iS: Check all that apply.             ~~ ,601.04
             Industrial Belting &Transmission                               ❑Contingent
             4061 MCCollum Ct                                               ❑ Unliquidated
             Louisville, KY 40232                                           ❑ Disputed
             Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or S2NiC2S pfOVld2d
             Last 4 digits of account number SYSSOL
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.59    j Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check an tnar appry.              $1,787.81
         J

             Industrial Metal Supply Co                                     ❑Contingent
             5150 S 48th St                                                 ❑ Unliquidated
             Phoenix, AZ 85040                                              ❑Disputed
             Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS OC S2NIC.eS pl"OVid@d
             Last 4 digits of account number _
                                                                            Is the claim subject to offset? ■ No ❑Yes

 3.60    ' Nonpriority creditor's name and mailing address                  As of the petition fling date, the Claim i5: Check all that apply.         $5,042,217.67
             INTRALOX                                                       ■ Contingent
             301 Plantatation Road
                                                                            ~ Unliquidated
             New Orleans, LA 70123
                                                                            ~ Disputed
             Dates) debt was incurred _
             Last 4 digits of account number 9761                           sass for the claim: Contract damages
                                                                            Is the Gaim subject to offset? ~ No ❑Yes




O~cial Form 206 E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                              Page 9 of 21
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       Case 20-30891-jal                       Doc 1            Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 26 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appry.          $1,026,718.33
         IPC Lyndon, LLC                                                    ■Contingent
         284 Bodwell Street
         Avon, MA 02322                                                     ■ Unliquidated
                                                                            ~ Disputed
         Dates) debt was incurred _
         Last 4 digits of account number 0149                               Basis for the claim: Contract damages

                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the CIai~17 i5: Check all that apply.          552,828.75
         Iron Native Welding                                                ~ Contingent
         14800 W Edgemont Ave                                               ~ Unliquidated
         Goodyear, AZ 85395
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 Basis for the claim: GOOdS OC S81"VIC@S pfOVld2d

                                                                            Is the claim subject to offset? ~ No ❑Yes

3.63 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the CIBim iS: Check al! that apply.            $~ ~ ,831.08
         J & J TRANSPORTATION                                               ❑Contingent
         PX Box 99415                                                       ❑ Unliquidated
         Louisville, KY 99415                                               ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or S@IViCBs prOvid2d
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.64    j Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all fhat apply.             $Z~,454.00
          J Rose Construction                                               ❑Contingent
          1140 Tierra HuiChol                                               ❑ unliquidated
          Anthony, NM 88021                                                 ❑ ~isputea
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S8NIC2S pfOVld2d
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date,the claim is: Check an that appry.                $1,360.00
         J.E.Manzi &Associates                                              ❑Contingent
         826 Busse Hwy                                                      ❑ Unliquidated
         Park Ridge, IL 60068                                               ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS OC S2fViC.eS pfOVld2d
          last 4 digits of account number _
                                                                            is the claim subject to offset? ~ No ❑Yes

3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Cneck all that appry.           $271,617.00
          JCK USA Limited                                                   ~ Contingent
          1335 Canton Rd
                                                                            ~ Unliquidated
          Marietta, GA 30066
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 eases for the cia~m: Goods or services provided
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.     _           $H73.~
          John S. James Co.                                                 ❑ Contingent
          PO Box 2166                                                       ❑ Unliquidated
          Savannah, GA 31402                                                ❑ Disputed
          Dates) debt was incurred _                                        eases for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes




O~cial Form 206 E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 21
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                             Page 27 of 81


 Debtor      System Solutions of Kentucky, LLC                                                      Case number (if known)
             Name
3.68     ~ Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check an tnat apply.             $1,341.46
          Kentuckiana Tool Supply                                          ❑Contingent
          139 Grant Court                                                  ❑ Unliquidated
          Mount Washington, KY 40047                                       ❑Disputed
          Dates) debt was incurred _                                       Basis for the claim: GOOdS Of S2t'VIC@S pfOVidBd
          Last 4 digits of account number _
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

~ 3.69    Nonpriority creditor's name and mailing address                  As of the petition filing date, the Claim i5: Check all that apply.           $~ 2,633.44
          Kentuckiana Wire Rope &Supply                                    ❑Contingent
          3335 Industrial Pkwy                                             ❑ Unliquidated
          Jeffersonville, IN 47130                                         ❑Disputed
          Date(s~ debt was incurred _                                      Basis for the claim: GOOdS Of Sei'VICeS pfOVldEd
          last 4 digits of account number K310
                                                                           Is the claim subject to offset? ~ No ❑Yes

 3.70    ~ Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check au that appry.                $277.04
          Konica Minolta                                                   ❑Contingent
          10300 Ormsby Park PI #502                                        ❑ Unliquidated
          Louisville, KY 40223                                             ❑Disputed
          Date~s~ debt was incurred _
                                                                           Basis for the claim: Goods or SefViCes provided
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ~ No ❑Yes

 3.71    ' Nonpriority creditor's name and mailing address                 As of the petition filing date, th2 Claim is: Check all that apply.         $143,214.50
          Landstar Ligon, Inc.                                             ■ Contingent
          13410 Sutton Park Dr South
                                                                           ~ Unliquidated
          Jacksonville, FL 32224
                                                                           ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 6535                             Bass for cne cia~m: Contract damages
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.72     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Cneck all that apply.           $35,393.00
          Canning Chemical Co.                                             ❑ contin9er,c
          3000 Griffiths Ave                                               ❑ Unliquidated
          Louisville, KY 40212                                             ❑Disputed
          Dates) debt was incurred _
                                                                           Basis for the claim: GOodS or set'VICes provided
          Last 4 digits of account number
                                                                           Is the claim subject to offset? ~ No ❑Yes

 3.73     Nonpriority creditor's name and mailing address                  As of the petition filing date, the Claim is: Check all that apply.               $ZO5.64
          LaWnPfo                                                          ❑Contingent
          3007 Sprowl Road                                                 ❑ Unliquidated
          Louisville, KY 40299                                             ❑ Disputed
          Dates) debt was incurred _
                                                                           Basis for the claim: Goods or S@NiC2s provided
          last 4 digits of account number _
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.74     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check au that apply.                $332.14
          LEAF                                                             ❑Contingent
          2005 Market Street, 14th Floor                                   ❑ Unliquidated
          Philadelphia, PA 19103                                           ❑Disputed
          Dates) debt was incurred _                                       Basis for the claim: Goods or SeNiCeS provided
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ~ No ❑Yes




O~ciai Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 21
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         Case 20-30891-jal                      Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 28 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3_7~ Nonpriority creditor's name and mailing address                        As of the petition filing date, the ClBirtt iS: Check all that apply.   __       $H,578.09
          LEWCO                                                             ❑Contingent
          706 Lane Street                                                   ❑ Unliquidated
          Sandusky, OH 44870                                                ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOds or seNIC2s pfOvided
          Last 4 digits of account number 1634
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim is: Check all that apply.           $67$,150.00
          Lighthouse Transportation                                         ■ Contingent
          563 Tevino Ridge
                                                                            ~ Unliquidated
          Crestview Hills, KY 41017
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 aas~s forme cia~m: Contract damages; unjust enrichment
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.77      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an rnat apply.           $2,690,512.38
          LLR ELECTRIC, INC.                                                ~ Contingent
          4802 E Ray Rd Ste 23 PMB 209
                                                                            ~ Unliquidated
          Phoenix, AZ 85044
                                                                            ~ Disputed
          Dates) debt was incurred _
          last 4 digits of account number _                                 aas~s for cne cia~m: Contract damages
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appty.           $229,000.00
          Logic Systematic, LLC                                             ~ Contingent
          10470 Hobson Street                                               ~ Unliquidated
          Spring Hiii, FL 34608
                                                                            ~ Disputed
          Dates) debt was incurred
          Last 4 digits of account number _                                 Basis for the claim: Goods or SeIViCes provided

                                                                            Is the Gaim subject to offset? ~ No ❑Yes

i 3.79    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Cneck all that appty.                 $820.00
          Louisville Bats                                                   ❑Contingent
          401 East Main Street                                              ❑ Unliquidated
          Louisville, KY 40202                                              ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods or SeNiC2s provided
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.80     Nonpriority creditor's name and mailing address                   As of the petition £ling date, the claim is: Check a!I that appty.                 Unknown
          Material Handling Systems, Inc.                                   ■ Contingent
          131 Griffin Way
                                                                            ■ Unliquidated
          Mount Washington, KY 40047
                                                                            ~ Disputed
          Date~s~ debt was incurred _
          Last 4 digits of account number _                                 sass for the cia~m: Contract damages
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

 3.81     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Cneck all that apply.     _         $3,8 3.7$
          MCMASTER-CARR                                                     ❑Contingent
          PO Box 7690                                                       ❑ Unliquidated
          Chicago, IL 60680-7690                                            ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOodS or Set'ViC~2S pfOvided
          Last 4 digits of account number 5100
                                                                            Is the claim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 21
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                                Page 29 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $55,100.00
         Mercer Transportation                                              ■ Contingent
         PO Box 644011
                                                                            ■ Un~iquidated
         Pittsburgh, PA 15264-4011
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 aas~s for cne claim: Goods or services provided
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.83      Nonpriority creditor's name and mailing address                   As of the petition Fling date, the claim is: Check all thar apply.               $4,933.96
         Miami Valley Steel                                                 ❑ Contingent
         201 Fox Drive                                                      ❑ Unliquidated
         Piqua, OH 45356                                                    ❑ Disputed
          Dates) debt was incurred _                                        sass for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            is the claim subject to offset? ~ No ❑Yes

3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appry.                Unknown
         Midwest Machine Service                                            ■ Contingent
         5632 West Pleasant Blvd
                                                                            ~ Unliquidated
         Chicago Ridge, IL 60415
                                                                            ■ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 1623                              Basis for the claim: D81718g8S

                                                                            Is the claim subject to offset? ~ No ❑Yes

3.85     i, Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.               12,710.60
          Mitchell Mechanical, LLC                                          ❑ Contingent
          365 Waterway Rd                                                   ❑ Unliquidated
          Oxford, PA 19163                                                  ❑ Disputed
          Dates) debt was incurred _
                                                                            Bass for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.86     i Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $18.87
         Mobile Mini                                                        ❑ Contingent
         4646 E Van Buren St, Ste. 400                                      ❑ Unliquidated
         Phoenix, AZ 85008                                                  ❑ Disputed
          Dates) debt was incurred _                                        Bass for the cia~m: Goods or services provided
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.8~ Nonpriority creditor's name and mailing address                        As of the petition filing date, thB Cleirtt iS: Check all that apply.         $260,067.79
          Mode Transportation                                               ~ Contingent
          17330 Preston Road, Ste. 200C
                                                                            ~ Unliquidated
          Dallas, TX 75252
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 0418                              Bass for the cia~m: Goods or services provided
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.88     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an that appry.              $90,250.00
          MWS METAL WELDING SERVICE INC.                                    ■ Contingent
          4671 Cheryl Lane
                                                                            ■ Unliquidated
          Kaufman, TX 75142
                                                                            ~ Disputed
          Dates) debt was incurred _
          last 4 digits of account number _                                 aas~s for the cia~m: Goods or services provided
                                                                            Is the Gaim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 13 of 21
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 30 of 81


 Debtor      System Solutions of Kentucky, LLC                                                       Case number (if known)
             Name
 3.89     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check au that appty.                $8,950.00
          Nabhoiz Industrial Services                                      ❑ Contingent
          307 W. Stribling                                                 ❑ Unliquidated
          PO Box 277                                                       ❑ Disputed
          Rogers, AR 72756
                                                                           aas~s for the cia~m: Goods or services provided
          Dates) debt was incurred _
          Last 4 digits of account number _                                Is the Gaim subject to offset? ~ No ❑Yes

i3.90 'Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check au that appty.                $7,166.43
          National Construction Rentals, InC.                              ❑Contingent
          15319 Chatsworth St                                              ❑ Un~iquidated
          Mission Hills, CA 91345                                          ❑Disputed
          Dates) debt was incurred _
                                                                           Basis for the claim: Goods or Set"ViC2S provided
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ~ No ❑Yes

 3.91     Nonpriority creditor's name and mailing address                  As of the petition filing date, th2 CIBim i5: Check all thatapp/y.                 Ut1KIlOW11
          O'Neal Steel Inc.                                                ■ contingent
          PO Box 934243
                                                                           ■ Unliquidated
          Atlanta, GA 31193-4243
                                                                           ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 4587                             Basis for the claim: Damages

                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.92     Nonpriority creditor's name and mailing address                  As of the petition filing date, the Claim is: Check alI that apply.             $33,247.50
          Old Dominion Freight Line                                        ~ Contingent
          1400 S Louis Coleman Jr Dr
          Louisville, KY 40211                                             ■ Unliquidated
                                                                           ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 8532                             Bass for cne cia~m: Goods or services provided
                                                                           Is the claim subject to offset? ~ No ❑Yes

3.93 Nonpriority creditor's name and mailing address                       As of the petition filing date, the Claim is: Check all that apply.             $~ $,112.50
          Oradell Construction Co., It1C.                                  ❑Contingent
          37 Woodland Road, Ste. 3                                         ❑ Unliquidated
          Roseland, NJ 07068                                               ❑Disputed
          Dates► debt was incurred _
                                                                           Basis for the claim: GOodS or SeNiCes provided
          Last 4 digits of account number _
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.94     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that appry.             $10,014.41
          PPG                                                              ❑Contingent
          PO Box 536864                                                    ❑ unliquidated
          Atlanta, GA 30353-6864                                           ❑Disputed
          Dates) debt was incurred _
                                                                           Basis for the claim: Goods Or SeNiC.eS prOvld2d
          Last 4 digits of account number 0000
                                                                           Is the claim subject to offset? ~ No ❑Yes

 3.95     Nonpriority creditor's name and mailing address                  As of the petition filing date, th2 Cleirtl iS: Check all that apply.         $'I Hr
                                                                                                                                                              J,498.33
          Precision Pulley &Idler                                          ■ Contingent
          300 S.E. 14th Street
                                                                           ~ Unliquidated
          Pella, IA 50219
                                                                           ■ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number 1000                             saris for the claim: Goods or services provided
                                                                           Is the claim subject to offset? ~ No ❑Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 14 of 21
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        Case 20-30891-jal                      Doc 1            Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 31 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.96    ~ Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $2~,~~~.~~
         PROLINK RESOURCES                                                  ■Contingent
         10700 Montgomery Rd
                                                                            ~ Unliquidated
         Cincinnati, OH 45242
                                                                            ~ Disputed
         Date~s~ debt was incurred _
         Last 4 digits of account number _                                  Basis for the claim: CO~tI'8Ct d8fT1ag2S

                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.97    j Nonpriority creditor's name and mailing address                   As of the petition filing date, th@ CI811T1 i5: Check ali that apply.            $3,373.48
         Quality Supply &Tool                                               ❑Contingent
         PO Box 1400                                                        ❑ Uniiquidated
         Greenwood, IN 46142                                                ❑Disputed
         Dates) debt was incurred _                                         Basis for the claim: Goods or SeNiC2S provided
         Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.98      Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.            $4,787.00
         R & M Welding Products                                             ❑Contingent
         105 Willliams Way                                                  ❑ Unliquidated
         Wilder, KY 41076                                                   ❑Disputed
         Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Or selViCes pfOvlded
         Last 4 digits of account number SSK
                                                                            Is the claim subject to offset? ■ No ❑Yes

3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check alp that apply.                 $784.00
         Ralphs-Pugh Co.                                                    ❑Contingent
         3931 Oregon Street                                                 ❑ Unliquidated
         Benicia, CA 94510                                                  ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS Or Sel'VIC2S pfOVid6d
          Last 4 digits of account number SL~O
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.100     Nonpriority creditor's name and mailing address                   As of the petition filing date, the CiBim iS: Check all that apply.                 $~ 7~}.9O
          Reflex Graphics                                                   ❑contingent
          1902 Campus Place, #11                                            ❑ Unliquidated
          Louisville, KY 40299                                              ❑Disputed
          Dates) debt was incurred _                                        Basis forthe claim: GOOdS OC SefVIC2S pfOVldeCl
          Last 4 digits of account number 2099
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.101     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au that appty.               $3,035.00
         Regal Temporary Services                                           ~ Contingent
         424 E Lamar Blvd #102
                                                                            ~ Unliquidated
         Arlington, TX 76011
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 Basis for the claim: GOOdS OI' SBNIC.eS pfOVidBd

                                                                            Is the claim subject to offset? ~ No ❑Yes

3.102     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $S~Z.H~
          REPUBLIC SERVICES #794                                            ❑Contingent
          18500 N Allied Way                                                ❑ un~iquidated
          Phoenix, AZ 85054-6164                                            ❑Disputed
          Dates) debt was incurred _                                        saris for the claim: Goods or seNiCes provided
          Last 4 digits of account number 361 1
                                                                            ~s the claim subject to offset? ■ No ❑Yes




Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 15 of 21
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        Case 20-30891-jal                      Doc 1           Filed 03/13/20               Entered 03/13/20 20:51:31                               Page 32 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check an that appry.            $359,255:99
         Ridley Excavating                                                  ~ Contingent
         PO BOX 412
                                                                            ■ Unliquidated
         Glen Mills, PA 19342
                                                                            ~ Disputed
         Dates) debt was incurred _
         Last4 digits of account number_                                    Basis for the claim: GOods or S@t'ViC.eS p~ovlded

                                                                            Is the claim subject to offset? ■ No ❑Yes

3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the CI8i~11 iS: Check all that apply.         $663,518.08
         Rightline Warehouse Solutions                                      ~ Contingent
         2822 Commerce Park Drive, Ste. 400
                                                                            ~ Uniiquidated
         Orlando, FL 32819
                                                                            ~ Disputed
         Dates) debt was incurred _
         Last 4 digits of account number SSK                                saris for cne claim: Contruction trust fund account
                                                                            Is the claim subject to offset? ■ No ❑Yes

3.105     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.            $~ 4,987.20
         RYAN MECHANICAL COMPANY                                            ❑ Contingent
         1325 N Mondel Dr                                                   ❑ Unliquidated
         Gilbert, AZ 85233                                                  ❑ Disputed
         Dates) debt was incurred _                                         sass for the cia~m: Goods or services provided
         Last 4 digits of account number SYSS
                                                                            Is the claim subject to offset? ■ No ❑Yes

3.106     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au that appry.             $20,905.50
         SAGUARO STEEL INDUSTRIES, LLC                                      ❑Contingent
         3547 W. Lower Buckeye Rd                                           ❑ Unliquidated
         Phoenix, AZ 85009                                                  ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods Or Sel'ViC2s provld2d
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.107     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au tnat appry.              $17,845.00
         Schuler Manufacturing                                              ❑Contingent
         1500 South 10th Street                                             ❑ Unliquidated
         Louisville, KY 40210                                               ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS Of S21YiC2S ptOVld2d
          Last 4 digits of account number _
                                                                            is the Gaim subject to offset? ~ No ❑Yes

3.108     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an that appry.               $7,118.20
         SERVPRO of East Louisville                                         ❑Contingent
         1929 Production Drive                                              ❑ Unliquidated
         Louisville, KY 40299                                               ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS Or S@NiC2S p1'OVidBd
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.109     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an that appry.              $14,296.83
         Sherwin Williams                                                   ❑ Contingent
         9203 Sutton PI                                                     ❑ Unliquidated
         Hamilton, OH 45011                                                 ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods Or Services provided
          Last 4 digits of account number 1786
                                                                            Is the claim subject to offset? ~ No ❑Yes




O~cial Form 206 EIF                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 16 of 21
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        Case 20-30891-jal                       Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 33 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.110     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check a~1 that apply.                 $236.40
         SIEGEL GAS                                                         ❑Contingent
         20052 NW 89th Ave                                                  ❑ unliquidated
         Medley, FL 33178                                                   ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods Or Services provided
          Last 4 digits of account number 7391
                                                                            Is the claim subject to offset? ~ No ❑Yes

3.111 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $943.00
          Spray Tech Systems, INC                                           ❑Contingent
          1025A Enterprise Ave                                              ❑ Unliquidated
          Oklahoma City, OK 73128                                           ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS OC S21VIC2S pfOVld2d
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.112 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, th@ CI8i1T1 iS: Check all that apply.6,750.00
          St Onge                                                           D Contingent
          1400 Williams Rd                                                  O Unliquidated
          York, PA 17402                                                    ❑Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S2NIC2S pC'OVIClBCI
          Last 4 digits of account number _
                                                                            Is the Gaim subject to offset? ~ No ❑Yes

3.113     Nonpriority creditor's name and mailing address                   As of the petition filing date, the CIBim i5: Check all that apply.          $~ ,026,346.00
          Stock Manufacturing                                               ■Contingent
          10040 Cilley Rd
          Cleves, OH 45002                                                  ■ Unliquidated
                                                                            ~ Disputed
          Dates) debt was incurred _
          Last 4 digits of account number _                                 Basis for the claim: GOOdS OC S2NIC8S pfOVldBd

                                                                            Is the claim subject to offset? ~ No ❑Yes

3.114 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $264,045.55
          SUMITOMO                                                          ■Contingent
          PO Box 60638
                                                                            ~ Unliquidated
          Charlotte, NC 28260-0638
                                                                            ~ Disputed
          Dates) debt was incurred_
          Last 4 digits of account number _                                 Basis for the claim: GOOdS Or S8NiC2S pt'OVId@d

                                                                            Is the claim subject to offset? ~ No ❑Yes

3.115 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that appry.              $2,500.00
          Sunbelt Finance, LLC                                              ❑Contingent
          2900 Browns Lane                                                  ❑ uniiquidated
          Jonesboro, AR 72401                                               ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: Goods or SeNiC2s provided
          Last 4 digits of account number _
                                                                            is the claim subject to offset? ~ No ❑Yes

3.116     Nonpriority creditor's name and mailing address                   As of the petition filing date, thB C18itlt iS: Check all that apply.           $4'I ,582.38
          Sunbelt Rentals                                                   ❑Contingent
          5701 Chapel Hill Rd                                               ❑ Unliquidated
          Raleigh, NC 27697                                                 ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim: GOOdS Of S21ViC.2S pfOVld2d
          Last 4 digits of account number 6617
                                                                            Is the claim subject to offset? ~ No ❑Yes




O~cial Form 206 E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 17 of 21
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          Case 20-30891-jal                    Doc 1           Filed 03/13/20              Entered 03/13/20 20:51:31                             Page 34 of 81


 Debtor      System Solutions of Kentucky, LLC                                                      Case number (if known
              Name
j 3.117    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.             Unknown
           System One Holdings, If1C.                                      ■Contingent
           12 Federal Street, Suite 205                                    ~ Unliquidated
           Pittsburgh, PA 15212
                                                                           ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number _                               Basis for the claim: D8t71ag2S

                                                                           Is the claim subject to offset? ~ No ❑Yes

3.118      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Cneck all tnat app~y.            $3,088.00
           TERRACON                                                        ❑Contingent
           10841 S. Ridgeview Road                                         ❑ Unliquidated
           Olathe, KS 66061                                                ❑Disputed
           Dates) debt was incurred _                                      Basis for the claim: GOOdS OC S@IViCES pfOVld@d
           Last 4 digits of account number _
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.119     Nonpriority creditor's name and mailing address                 As of the petition filing date, th@ CIBim is: Check all that apply.          $~ 8,000.00
           Thackray Crane Rental, IBC.                                     ❑Contingent
           2071 Byberry Rd                                                 ❑ un~iquidated
           Philadelphia, PA 19116                                          ❑Disputed
           Dates) debt was incurred _                                      Basis for the claim: GOOdS Of S@NIC2S pfOvid@d
           Last 4 digits of account number
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.120     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that appry.           $11,000.00
           Thoroughbred Transportation                                     ❑Contingent
           PO Box 991274                                                   ❑ Un~iquidated
           Louisville, KY 40269-0415                                       ❑Disputed
           Dates) debt was incurred _                                      Basis for the claim: Goods or SetVIC2S provid8d
           Last 4 digits of account number _
                                                                           is the Gaim subject to offset? ~ No ❑Yes

 3.121     Nonpriority creditor's name and mailing address                 As of the petition filing date, th@ Claim is: Check all that apply.   _       $C'I ,800.00
           Three D Properties LLC                                          ❑Contingent
           711 Winding Oaks Trail                                          ❑ Unliquidated
           Louisville, KY 40223                                            ❑Disputed
           Dates) debt was incurred _                                      Basis for the claim: GOOdS OC S21'VIC@S pfOVld2d
           Last 4 digits of account number _
                                                                           Is the Gaim subject to offset? ~ No ❑Yes

 3.122     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Cneck all that appty.           $19,595.91
           TOLLESON STEEL                                                  ❑Contingent
           9204 W Van Buren St                                             ❑ Unliquidated
           Tolleson, AZ 85353                                              ❑Disputed
           Dates) debt was incurred _                                      Basis for the claim: Goods Or SeNiCeS provided
           Last 4 digits of account number _
                                                                           is the claim subject to offset? ~ No ❑Yes

 3.123     Nonpriority creditor's name and mailing address                 As of the petition filing date, the CIBim is: Check all that apply.           $6~ ,580.00
           TOTTEN TUBES, INC                                               ❑ Contingent
           1605 S. 39th Ave                                                ❑ Unliquidated
           Phoenix, AZ 85009                                               ❑ Disputed
           Dates) debt was incurred _                                      eases for the claim: Goods or services provided
           Last 4 digits of account number 9573
                                                                           Is the claim subject to offset? ~ No ❑Yes




O~cial Form 206 E!F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                              Page 18 of 21
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          Case 20-30891-jal                      Doc 1           Filed 03/13/20               Entered 03/13/20 20:51:31                             Page 35 of 81


  Debtor       System Solutions of Kentucky, LLC                                                       Case number (if known)
               Name
  3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appry.         $312,634.00
           Transnorm                                                          ~ Contingent
           2810 Avenue E East
                                                                              ~ Unliquidated
           Arlington, TX 76011
                                                                              ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number K001                               eases for the cia~m: Goods or services provided
                                                                              Is the claim subject to offset? ~ No ❑Yes

  3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check an that appry.             $7,022.39
           Uline                                                              ❑ Contingent
           PO Box 88741                                                       ❑ Unliquidated
           Chicago, IL 60680                                                  ❑ Disputed
           Dates) debt was incurred _                                         sass for the cia~m: Goods or services provided
           Last 4 digits of account number 8192
                                                                              is the Gaim subject to offset? ~ No ❑Yes

  3.126 j Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Cneck as that appry.              Unknown
           United Parcel Service, Inc.                                        ~ Contingent
           55 Glenlake Pkwy NE
                                                                              ~ Unliquidated
           Atlanta, GA 30328
                                                                              ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number _                                  Basis for the claim: Contract damages

                                                                              Is the claim subject to offset? ❑ No ■Yes

  3.127     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check au that appty.          $987,081.86
           United Rentals                                                     ~ Contingent
           6125 Lakeview Road, Suite 300                                      ~ Unliquidated
           Charlotte, NC 28269
                                                                              ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number 4271                               Basis for the claim: GOOds Or SefviC2s provided

                                                                              Is the claim subject to offset? ~ No ❑Yes

  3.128     Nonpriority creditor's name and mailing address                   As of the petition filing date, the Claim i5: Check all that apply.               $~ O5.$O
           UPS                                                                ❑Contingent
           55 Gienlake Pkwy NE                                                ❑ Uniiquidated
           Atlanta, GA 30328                                                  ❑Disputed
           Dates) debt was incurred _                                         Basis for the claim: GOOdS Of S21'VIC.eS pfOVldBd
            Last 4 digits of account number _
                                                                              is the claim subject to offset? ~ No ❑Yes

  3.129     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check an rnat apply.             $1,600.03
            UPS Ffeight                                                       ❑Contingent
           28013 Network Place                                                ❑ unliquidated
           Chicago, IL 60673-1280                                             ❑Disputed
            Dates) debt was incurred _                                        Basis for the claim: GOOdS Of S@fViC,eS pfOVldBd
            Last 4 digits of account number _
                                                                              Is the claim subject to offset? ~ No ❑Yes

0
3. Nonpriority creditor's name and mailing address                            As of the petition filing date, the claim is: Check ail rnat appry.           $25,190.35
            US NUt & BOIf                                                     ❑ Contingent
            PO Box 88671                                                      ❑ Unliquidated
            Chicago, IL 60680-1671                                            ❑ Disputed
            Dates) debt was incurred _                                        Bass for the cia~m: Goods or services provided
            Last 4 digits of account number 1000
                                                                              is the claim subject to offset? ~ No ❑Yes




  Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                              Page 19 of 21
  Software Copyright(c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case 20-30891-jal                    Doc 1            Filed 03/13/20              Entered 03/13/20 20:51:31                               Page 36 of 81


 Debtor      System Solutions of Kentucky, LLC                                                        Case number (if known)
             Name
3.131 ' Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that appty.           $108,000.00
           Van Gorp Corporation                                             ~ Contingent
           1410 Washington St
           Pella, IA 50219                                                  ■ Unliquidated
                                                                            ~ Disputed
           Dates) debt was incurred _
           Last4 digits of account number 1 180                             Basis for the claim: C011t1'8Ct C18t118g2S

                                                                            Is the Gaim subject to offset? ~ No ❑Yes

~ 3.132    Nonpriority creditor's name and mailing address                  As of the petition filing date, the Claim i5: Check all that apply.               UIlICf10Wi1
           Vanriet Material Handling Systems                                ~ Contingent
           PO Box 416
                                                                            ■ unliquidated
           3990 GE Houten NETHERLANDS
                                                                            ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number 7469                             Basis for me cia~m: Contract damactes
                                                                            is the claim subject to offset? ■ No ❑Yes

3.133      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check an that appty.               $1,240.65
           V2fIZ011                                                         ❑Contingent
           500 Technology Drive, Suite 550                                  ❑ Unliquidated
           Weldon Spring, MO 63304                                          ❑Disputed
           Dates) debt was incurred _
                                                                            Basis for the claim: GOOdS Of S@NIC2S pfOVldBd
           Last 4 digits of account number _
                                                                            Is the claim subject to offset? ■ No ❑Yes

 3.134     Nonpriority creditor's name and mailing address                  As of the petition filing date, th0 CI8it17 i5: Check all that apply.          $37,426.92
           Vern Lewis Welding Supply, InC.                                  ■Contingent
           133 N 21st Ave                                                   ■ Uniiquidated
           Phoenix, AZ 85009
                                                                            ~ Disputed
           Dates) debt was incurred _
           Last 4 digits of account number 0121                             Basis for the claim: Goods or services provided

                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.135     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $465.04
           WASTE MANAGEMENT LOUISVILLE                                      ❑Contingent
           HAULING                                                          ❑ u~Iiquidated
           7501 Grade Ln                                                    ❑Disputed
           Louisville, KY 40219
                                                                            eases for cne cia~m: Goods or services provided
           Dates) debt was incurred _
           Last 4 digits of account number _                                Is the Gaim subject to offset? ~ No ❑Yes


 3.136     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that app~y.                 $535.82
           Waste Management of PA Inc.                                      ❑ contingent
           600 Tyburn Road                                                  ❑ Unliquidated
           Morrisville, PA 19067                                            ❑Disputed
           Dates) debt was incurred _                                       Basis for the claim: Goods Or SeIviC2s provided
           Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.137     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Cnecrc al! that appry.             $5,346.61
           WELLS FARGO EQUIPMENT FINANCE                                    ❑Contingent
           420 Montgomery Street                                            ❑ Unliquidated
           San Francisco, CA 94104                                          ❑Disputed
           Dates) debt was incurred _                                       Basis for the claim: Goods or SeNIC~S provided
           Last 4 digits of account number 1001
                                                                            Is the Gaim subject to offset? ■ No ❑Yes




O~cial Form 206 E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                Page 20 of 21
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        Case 20-30891-jal                      Doc 1            Filed 03/13/20              Entered 03/13/20 20:51:31                             Page 37 of 81


Debtor       System Solutions of Kentucky, LLC                                                       Case number (if known)           __
             Name
3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Cneck an that apply.                $7,240.31
         WHITE WATER II LLC                                                 ❑Contingent
         301 S 29th St                                                      ❑ Unliquidated
         Phoenix, AZ 85034                                                  ❑Disputed
         Dates) debt was incurred _                                         Basis for the claim: GOOdS OC S@fviC@S pfOVlded
         Last 4 digits of account number _
                                                                            is the Gaim subject to offset? ~ No ❑Yes

3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appry.            $$28,826.56
         WM Kelley Co.                                                      ■Contingent
         620 Durgee Rd
         New Albany, IN 47150                                               ■ Unliquidated
                                                                            ~ Disputed
         Dates' debt was incurred _
         Last 4 digits of account number 0238                               Basis for the claim: GOOdS Or SeNiCes pfOvided

                                                                            Is the Gaim subject to offset? ❑ No ~ Yes

3.140     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Cneck all that apply.     _            $100.03
         XPOLogistics                                                       ❑Contingent
         Five American Lane                                                 ❑ Unliquidated
         Greenwich, CT 06831                                                ❑Disputed
         Dates) debt was incurred _                                         Basis for the claim: GOOdS Or SeIViCEs provided
         Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes


             List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. if additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

             Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts'
 5a. Total claims from Part 1                                                                           5a.        $                              ~.~~
 5b. Total claims from Part 2                                                                           sb. + $                        28,991,677.98

 5c. Total of Parts 1 and 2                                                                                                               28,991,677.98
      Lines 5a + 5b = 5c.                                                                               5c.       g




Official Form 206 E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                                 Page 21 of 21
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        Case 20-30891-jal                      Doc 1            Filed 03/13/20     Entered 03/13/20 20:51:31                   Page 38 of 81



 Debtor name        System Solutions of Kentucky, LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                           ❑ Check if this is an
                                                                                                                             amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                            12/15
                                        If
Be as complete and accurate as possible. more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      ❑ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule AB: Assets -Real and Personal         Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.       State what the contract or                   Lease of 2110 High
            lease is for and the nature of               Wickham Place,
            the debtor's interest                        Louisville, KY 40245

                 State the term remaining                Date to May 1, 2026
                                                                                    ARGI Building Group, LLC
             List the contract number of any                                        2201 High Wickham Place
                   government contract                                              Louisville, KY 40245


 2.2.       State what the contract or                   Lease ofoff-premises
            lease is for and the nature of               storage unit
            the debtor's interest

                 State the term remaining                date to December 31,
                                                         2021                       Q2 Chamberlain
             List the contract number of any                                        3520 Chamberlain Lane
                   government contract       N/A                                    Louisville, KY 40241




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 1 of 1
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20   Entered 03/13/20 20:51:31                    Page 39 of 81



Debtor name         System Solutions of Kentucky, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                         ❑ Check if this is an
                                                                                                                           amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                   12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

     1. Do you have any codebtors?

❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



            Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                               that apply:

   2.1      Lummus Corp                      225 Bourne Blvd                                   CIBC Bank USA                   ■D    2.1
                                             Savannah, GA 31408                                                                ❑ E/F
                                                                                                                               ❑G




   2.2      SSK Lummus LLC                    225 Bourne Blvd                                  CIBC Bank USA                   ■D    2.1
                                              Savannah, GA 31408                                                               ❑ E/F
                                                                                                                               ❑G




   2.3      System Solutions                  225 Bourne Blvd                                  CIBC Bank USA                   ■D    2.1
            Holdings, LLC                     Savannah, GA 31408                                                               ❑ E/F
                                                                                                                               OG




Official Form 206H                                                        Schedule H: Your Codebtors                                        Page 1 of 1
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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                  Page 40 of 81




Debtor name         System Solutions of Kentucky, LLC

United States Bankruptcy Court for the: WESTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                  ❑ Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

             Income

1. Gross revenue from business

     ❑ None.

      Identify the beginning and ending dates of the debtor's fiscal year,                    Sources of revenue                     Gross revenue
      which may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                     exclusions)

      From the beginning of the fiscal year to filing date:                                   ■ Operating a business                                      $0.00
      From 1/01/2020 to Filing Date
                                                                                              ❑ Other


       For prior year:                                                                        ■ Operating a business                        $14,035,453.20
       From 1/01/2019 to 12/31/2019
                                                                                              ❑ Other


       For year before that:                                                                  ■ Operating a business                       $109,256,674.93
       From 1/01/2018 to 12/31/2018
                                                                                              ❑ Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ❑ None

                                                                                              Description of sources of revenue      Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                         .Tax refunds                                       $153,756.96


       For prior year:                                                                        Liquidated assets; scrap sales;
       From 1 /01/2019 to 12/31/2019                                                          tax refunds                                       $424,137.47


       For year before that:
                                                                                              Scrap sales                                         $19,131.82
       From 1/01/2018 to 12/31/2018


              List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1

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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                        Page 41 of 81


Debtor       System Solutions of Kentucky, LLC                                                        Case number ~rrknown~




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments ortransfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of ali property transferred to that creditor is less than $6,825.(This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ❑ None.

      Creditor's Name and Address                                        Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                              Check all that apply
      3.1. City of Tacoma                                                10/10/2020                        $12,213.66         ❑Secured debt
           747 Market Street                                                                                                  ❑Unsecured loan repayments
           Tacoma, WA 98402                                                                                                   ❑Suppliers or vendors
                                                                                                                              ❑ Services
                                                                                                                              ■ Other


      3'2'                                                               12/20/2019                        $11,216.81         ❑Secured debt
              Riker Danzig Scherer Hyland & Perretti L
              One Speedwell Avenue                                                                                            ❑Unsecured loan repayments
              Morristown, NJ 07962                                                                                            ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


      3.3.                                                                                                    $100.00         ❑Secured debt
              Riker Danzig Scherer Hyland & Perretti L                   01/03/2020
              One Speedwell Avenue                                                                                            ❑Unsecured loan repayments
              Morristown, NJ 07962                                                                                            ❑ Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


      3.a.                                                               02/20/2020                         $3,787.50         ❑Secured debt
              Riker Danzig Scherer Hyland & Perretti L
              One Speedwell Avenue                                                                                            ❑Unsecured loan repayments
              Morristown, NJ 07962                                                                                            ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              D Other_


      3.5.                                                                12/20/2019                        $2,800.00         ❑Secured debt
              Robert Haif Management Resources
              9300 Shelbyville Road, Ste. 920                                                                                 ❑Unsecured loan repayments
              Louisville, KY 40222                                                                                            ❑ Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


      3.6. Robert Half Management Services                                12/30/2019                         $2,800.00        ❑Secured debt
           9300 Shelbyville Road, Ste. 920                                                                                    ❑Unsecured loan repayments
           Louisville, KY 40222                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


      3'7' Robert Half Management Resources                              01/10/2020                          $1,995.00        ❑Secured debt
           9300 Shelbyville Road, Ste. 920                                                                                    ❑Unsecured loan repayments
           Louisville, KY 40222                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              D Other_




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
                                                                                                                                                   Best Case Bankruptcy
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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                       Page 42 of 81


Debtor       System Solutions of Kentucky, LLC                                                         Case number ~rrknown~



      Creditor's Name and Address                                        Dates                 Totai amount of value          Reasons for payment or transfer
                                                                                                                              Check all that apply
      3'8' Robert Half Management Services                               01/17/2020                         $2,828.00         ❑Secured debt
           9300 Shelbyville Road, Ste. 920                                                                                    ❑Unsecured loan repayments
           Louisville, KY 40220                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


      3'9' Robert Haif Management Services                               01/24/2020                         $2,828.00         ❑Secured debt
           9300 Shelbyville Road, Ste. 920                                                                                    ❑Unsecured loan repayments
           Louisville, KY 40222                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other

      3.10                                                               01/31/2020                         $2,262.40
              Robert Half Management Resources                                                                                ❑Secured debt
              9300 Shelbyville Road, Ste. 920                                                                                 ❑Unsecured loan repayments
              Louisville, KY 40222                                                                                            ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_

      3.11                                                               03/04/2020                        $15,000.00         ❑Secured debt
              Schneider Downs Meridian
              1 PPG Plaza, Ste. 1700                                                                                          ❑Unsecured loan repayments
              Pittsburgh, PA 15220                                                                                            ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_

      3.12                                                                12/20/2019                              $0.00
              Weinberg, Wheeler, Hedgins, Gunn                                                                                ❑Secured debt
              3344 Peachtree Rd. NE, Ste. 2400                                                                                ❑Unsecured loan repayments
              Atlanta, GA 30326                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other

      3.13 Weinberg, Wheeler, Hedgins, Gunn                              02/12/2020                          $4,307.50        D Secured debt
              02/12/2020                                                                                                      ❑Unsecured loan repayments
              Atlanta, GA 30326                                                                                               ❑Suppliers or vendors
                                                                                                                              ■ Services
                                                                                                                              ❑ Other_


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825.(This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C.§ 101(31).

      ❑ None

       Insider's name and address                                         Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
                                                                                                          $669,915.81         Consideration for goods
       4.~. Lummus Corporation                                            03/13/2019 -
                                                                                                                              purchased and reimbursement of
                                                                          03/13/2020
                                                                                                                              expenses. See Notes.

5. Repossessions,foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                      Page 43 of 81


 Debtor     System Solutions of Kentucky, LLC __                                            _          Case number ~rfknoWn~


    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ■ None

      Creditor's name and address                              Describe of the Property                                   Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

      ❑ None

      Creditor's name and address                              Description of the action creditor took                    Date action was                Amount
                                                                                                                          taken
      CIBC Bank USA                                            Set off of account                                         03/10/2020               $129,005.06
                                                               Last 4 digits of account number:    6106


 •.          Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      ❑ None

              Case title                                       Nature of case             Court or agency's name and             Status of case
              Case number                                                                 address
      7.1. Fabtration, LLC v. System                           Breach of Contract         Superior Court of the State of         ■pending
           Solutions of Kentucky, LLC, et                      Damages                    Arizona                                ❑ On appeal
           al.                                                 $342,000                   in and for the County of               ❑Concluded
           CV2019-005813                                                                  Maricopa
                                                                                          601 West Jackson Street
                                                                                          Phoenix, AZ 85003

      7z. LLR Electric, Inc., an Arizona                       Breach of Contract         Superior Court of the State of         ■pending
          Corporation v. System Solutions                      Damages                    Arizona                                ❑ On appeal
          of Kentucky, LLC, et al.                             $2,690,512.38              in and for the County of               ❑Concluded
          CV2019-008380                                                                   Maricopa
                                                                                          601 West Jackson Street
                                                                                          Phoenix, AZ 85003

      7.3. Ryan Mechanical Co. v. System                       Collection                 Superior Court of the State of         ■pending
           Solutions of Kentucky, LLC v.                       $15,487.20                 Arizona                                ❑ On appeal
           Sunbelt Rentals, Inc.                                                          in and for the County of               ❑Concluded
           CV2019-006791                                                                  Maricopa
                                                                                          601 West Jackson Street
                                                                                          Phoenix, AZ 85003

       7.4. Baxter, Bailey &Associates Inc.                    Collection                 Los Angeles Superior Court             ❑Pending
            v. IGH Logistics Group, Inc. and                   $6,331.00                  Chatsworth Courthouse                  ❑ On appeal
            System Solutions of Kentucky,                                                 9425 Penfield Avenue                   ■Concluded
            LAC, et al.                                                                   Chatsworth, CA 91311
            18CHLC01652
       7.5. System Solutions of Kentucky,                       Counterclaim for          In the Floyd Circuit Court             ■Pending
            LLC                                                 Damages in                State of Indiana                       ❑ On appeal
            v. W.M. Kelley Co., Inc. v.                         Unspecified               311 Hauss Square, Room                 ❑Concluded
            Material Handling Systems, Inc.                     Amount                    413
            2X01-1909-PL-001339                                                           New Albany, IN 47150



O~cial Form 207                                    Statement of Financial Affairs for Non-individuals Filing for Bankruptcy                                   page 4

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       Case 20-30891-jal                       Doc 1           Filed 03/13/20             Entered 03/13/20 20:51:31                    Page 44 of 81


Debtor       System Solutions of Kentucky, LAC                                                         Case number ~rtknown~


           Case title                                          Nature of case            Court or agency's name and            Status of case
           Case number                                                                   address
      7.6. Van Gorp Corporation v.                             Breach of Contract        In the Iowa District Court            ■pending
           System Solutions of Kentucky,                       Damages                   for Marion County                     ❑ On appeal
           Inc.                                                $180,000.00               214 East Main Street
                                                                                                                               ❑Concluded
           05631 LACV097052                                                              Knoxville, IA 50138

      7.7. Advance Fabricators Inc. v.                         Breach of Contract        Commonwealth of Kentucky              ■pending
           System Solutions of Kentucky,                       Damages in                Jefferson Circuit Court               ❑ pn appeal
           LLC                                                 Unspecified               600 West Jefferson Street             p Concluded
           19-CI-002049                                        Amount                    Room 2008
                                                                                         Louisville, KY 40202

      7.8. Atronix Acquisition Corp. v.                        Breach of Contract        Commonwealth of Kentucky              ■pending
           System Solutions of Kentucky,                       Damages in                Jefferson Circuit Court               ❑ On appeal
           LLC                                                 Unspecified               600 West Jefferson Street             ❑Concluded
           19-CI-004669                                        Amount                    Room 2008
                                                                                         Louisville, KY 40202

      7.9. Design Fabricators and                              Damages Sought            Commonwealth of Kentucky              ■pending
           Integrators, LLC                                    $861,175.00               Jefferson Circuit Court               ❑ On appeal
           v. System Solutions of                                                        600 West Jefferson Street             ❑Concluded
           Kentucky, LLC                                                                 Room 2008
           19-CI-004817                                                                  Louisville, KY 40202

      7.70 Holston Gases, Inc. v. System                       Breach of Contract        Commonwealth of Kentucky              ■Pending
      •    Solutions of Kentucky, LLC                          Damages                   Jefferson Circuit Court               p On appeal
           19-CI-002309                                        $33,157.77                600 West Jefferson Street             ❑Concluded
                                                                                         Room 2008
                                                                                         Louisville, KY 40202

      7.11    Thoroughbred Transportation,                     Collection                 Commonwealth of Kentucky             ■pending
              Inc., Successor in Interest to J &               $11,000.00                 Jefferson Circuit Court              ❑ On appeal
              J Transportation, Inc. v. System                                            600 West Jefferson Street            O Concluded
              Solutions of Kentucky, LLC                                                  Room 2008
              20-CI-01147                                                                 Louisville, KY 40202

      7.12 Landstar Ligon, Inc. v. System                      Damages Sought             Commonwealth of Kentucky             ■Pending
      •    Solutions of Kentucky, LLC                          $143,214.00                Jefferson Circuit Court              ❑ On appeal
           19-CI-005930                                                                   600 West Jefferson Street            ❑Concluded
                                                                                          Room 2008
                                                                                          Louisville, KY 40202

      7.13 Lighthouse Transportation                           Breach of Contract;        Commonwealth of Kentucky             ❑Pending
           Services, LLC v. System                             Unjust                     Kenton Circuit Court                 ❑ On appeal
           Solutions of Kentucky, LLC                          Enrichment                 230 Madison Avenue, 3rd              ■Concluded
           19-CI-00303                                         $678,150.00                Floor
                                                                                          Covington, KY 41011

       7.14   Material Handling Systems, Inc.                   Breach of Contract        Commonwealth of Kentucky             ■Pending
              v. System Solutions of                            Unspecified               Jefferson Circuit Court              ❑ On appeal
              Kentucky, LLC                                     Damages                   600 West Jefferson Street            ❑Concluded
              19-CI-004671                                                                Room 2008
                                                                                          Louisville, KY 40202

       7.15   Midwest Machine Service v.                        Damages in                Commonwealth of Kentucky             ■pending
       •      System Solutions of Kentucky,                     Unspecified               Jefferson Circuit Court              ❑ On appeal
              LLC                                               Amount                    600 West Jefferson Street            ❑Concluded
              19-CI-004537                                                                Room 2008
                                                                                          Louisville, KY 40202

O~cial Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5

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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                    Page 45 of 81


Debtor      System Solutions of Kentucky, LLC                                                          Case number ~rrk~ow~~


           Case title                                          Nature of case            Court or agency's name and            Status of case
           Case number                                                                   address.
      7.~6 Old Dominion Freight Line, Inc.                     Collection                Commonwealth of Kentucky              ■pending
           v. System Solutions of                              $33,247.50                Jefferson Circuit Court               ❑ On appeal
           Kentucky, LLC                                                                 600 West Jefferson Street             ❑ Concluded
           20-CI-0271                                                                    Room 2008
                                                                                         Louisville, KY 40202

      7.17 O'Neal Steel, Inc. v. System                        Damages in                Commonwealth of Kentucky              ■Pending
      •    Solutions of Kentucky, LLC                          Unspecified               Jefferson Circuit Court               ❑ On appeal
           19-CI-006310                                        Amount                    600 West Jefferson Street             ❑ Concluded
                                                                                         Room 2008
                                                                                         Louisville, KY 40202

      7.18 The Sherwin-Williams Company                        Collection                 Commonwealth of Kentucky             ■Pending
      •    v. System Solutions of                              $14,000.00                 Jefferson Circuit Court              ❑ On appeal
           Kentucky, PLC                                                                  600 West Jefferson Street            ❑Concluded
           19-CI-006310                                                                   Room 2008
                                                                                          Louisville, KY 40202

      7.19 System One Industrial                               Damages in                 Commonwealth of Kentucky             ■pending
           Solutions, LLC                                      Unspecified                Jefferson Circuit Court              ❑ On appeal
           v. System Solutions of                              Amount                     600 West Jefferson Street            ❑Concluded
           Kentucky, LLC                                                                  Room 2008
           19-CI-04964                                                                    Louisville, KY 40202

      7.20 United Parcel Service, Inc. v.                      Breach of Contract;        Commonwealth of Kentucky             ■pending
           System Solutions of Kentucky,                       Contractual                Jefferson Circuit Court              ❑ pn appeal
           LLC                                                 Inducements                600 West Jefferson Street            ❑Concluded
           19-CI-003076                                        Unspecified                Room 2008
                                                               Amount                     Louisville, KY 40202

      7.21 Vanriet Material Handling                           Breach of Contract         Commonwealth of Kentucky             ■pending
      •    Systems B.V. v. System                              Unspecified                Jefferson Circuit Court              ❑ On appeal
           Solutions of Kentucky, LLC                          Damages                    600 West Jefferson Street            ❑ Concluded
           19-CI-004672                                                                   Room 2008
                                                                                          Louisville, KY 40202

      7.22 Vern Lewis Welding Supply, Inc.                     Collection                 Commonwealth of Kentucky             ■pending
           v. System Solutions of                              $37,000.00                 Jefferson Circuit Court              O On appeal
           Kentucky, LLC                                                                  600 West Jefferson Street            ❑Concluded
           19-CI-007030                                                                   Room 2008
                                                                                          Louisville, KY 40202

      7.23 Ahrens Rentals, Inc. v. System                      Collection                 District Court                       ■Pending
           Solutions of Kentucky, LLC                          $15,000.00                 Clark County, Nevada                 ❑ On appeal
           A-19-803721-C                                                                  200 Lewis Avenue                     ❑Concluded
                                                                                          Las Vegas, NV 89115

       7.24 IPC Lyndon, LLC v. System                          Breach of Contract         Superior Court of New Jersey         ■pending
       •    Solutions of Kentucky, LLC, et                     Damages                    Essex County -Law Division           p On appeal
            al.                                                $1,026,718.33              465 Dr. Martin Luther King           ❑Concluded
            ESX-L-005153-19                                    Stayed by Consent          Blvd.
                                                               Order                      Newark, NJ 07102
                                                               Anticipating
                                                               Arbitration




Official Form 207                                  Statement of Financial Affairs for Non•Individuals Filing for Bankruptcy                                 page 6

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       Case 20-30891-jal                       Doc 1           Filed 03/13/20            Entered 03/13/20 20:51:31                     Page 46 of 81


Debtor      System Solutions of Kentucky, LLC                                                         Case number ~~rknown~



           Case title                                         Nature of case            Court or agency's name and             Status of case
           Case number                                                                  address.
      7.25 Prolink Resources, LLC v.                          Breach of Contract        Court of Common Pleas                  ■Pending
      •    System Solutions of Kentucky,                      Damages                   Hamilton County, Ohio                  ❑ on appeal
           LLC                                                $20,000.00                1000 Main Street, Room 410             p Concluded
           A 1902402                                                                    Cincinnati, OH 45202

      7.26 Intralox, L.L.C. v. System                         Breach of Contract        U.S. District Court N. Dist. of        ■pending
           Solutions of Kentucky, LLC, et                     Damages                   GA                                     ❑ On appeal
           al.                                                $5,042,217.67             Atlanta Division, Richard B.           ❑Concluded
           1:19-cv-001653-ELR                                                           Russell Fed
                                                                                        2211 United States
                                                                                        Courthouse
                                                                                        75 Ted Turner Drive, SW
                                                                                        Atlanta, GA 30303

      7.27 Thackray Crane Rental, Inc. v.                     Collection                 Court of Common Pleas                 ■Pending
           System Solutions of Kentucky,                      $16,000.00                 Philadelphia County,                  ❑ On appeal
           Inc.                                                                          Pennsylvania                          ❑ Concluded
           1908000828                                                                    Room 296 City Hall
                                                                                         Philadelphia, PA 19107

      7z8 Mode Transportation, LLC v.                         Breach of Contract        In the District Court                  ■Pending
      •   System Solutions of Kentucky,                       Unspecified               Dallas County, Texas                   ❑ on appeal
          LLC                                                 Amount                    600 Commerce Street                    ❑Concluded
          DC-19-07298                                                                   Dallas, TX 75202

      7.29 Regal Temporary Services v.                        Collection                 In the County Court                   ■pending
           System Solutions of Kentucky,                      $3,035.00                  Tarrant County, Texas                 ❑ pn appeal
           LLC                                                                           100 North Calhoun Street              p Concluded
           2019-008681-3                                                                 Fort Worth, TX 76196

      7.3o Rightline Warehouse Solutions,                     Claim Under                In the District Court                 ■Pending
           LLC                                                Construction               Tarrant County, Texas                 p On appeal
           v. System Solutions of                             Trust Fund Act             100 North Calhoun Street              ❑ Concluded
           Kentucky, LLC, eta                                 $663,518.08                Fort Worth, TX 76196
           153-307038-19

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■ None


             Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      ■ None

              Recipients name and address                      Description of the gifts or contributions               Dates given                         Value


             Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ■ None



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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       Case 20-30891-jal                       Doc 1           Filed 03/13/20               Entered 03/13/20 20:51:31                      Page 47 of 81


Debtor      System Solutions of Kentucky, LLC___                                 __                      Case number pfknoW~~              __                  __



      Description of the property lost and                     Amount of payments received for the toss                 Dates of loss           Value of property
      how the loss occurred                                                                                                                                     Iost
                                                               If you have received payments to cover the loss, for
                                                               example,from insurance, government compensation; or
                                                               tort liability, list the total received.
                                                               List unpaid claims on Official Form 106AB (Schedule
                                                               AB:Assets —Real and Personal Property).

             Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

     ❑ None.

               Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
               the transfer?                                                                                                                               value
               Address
      11.1. Schneider Downs Meridian
            1 PPG Plaza, Suite 1700
            Pittsburgh, PA 15222                                    Restructuring Consultant                                  04/18/2019             $10,000.00

               Email or website address


               Who made the payment, if not debtor?



      11.2. Schneider Downs Meridian
            1 PPG Plaza, Suite 1700
            Pittsburgh, PA 15222                                    Restructuring Consultant                                  03/04/2020             $15,000.00

                Email or website address


                Who made the payment, if not debtor?




      11.3. Wyatt, Tarrant &Combs, LLP
            400 West Market Street
            Suite 2000
            Louisville, KY 40202-2898                               Legal Consultation                                        06/27/2019               $2,725.00

                Email or website address


                Who made the payment, if not debtor?




       11.a. Wyatt, Tarrant &Combs, LLP
             400 West Market Street
             Suite 2000
             Louisville, KY 40202-2898                              Legal Consultation                                        09/23/2019                  $222.00

                Email or website address


                Who made the payment, if not debtor?




O~cial Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8

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       Case 20-30891-jal                        Doc 1           Filed 03/13/20             Entered 03/13/20 20:51:31                        Page 48 of 81


Debtor      System Solutions of Kentucky, LLC                                                           Case number ~;rrcnown~



               Who was paid or who received                          If not money, describe any property transferred           Dates            Total amount or
               the transfer                                                                                                                               value
               Address
      11.5.    Wyatt, Tarrant &Combs, LLP
               400 West Market Street
               Suite 2000
               Louisville, KY 40202-2898                             Legal Consultation                                        10/15/2019              $407.00

                Email or website address


                Who made the payment, if not debtor?




      11.6.    Wyatt, Tarrant &Combs, LLP
               400 West Market Street
               Suite 2000
               Louisville, KY 40202-2898                             Legal Consultation                                        12/31/2019               $375.00

                Email or website address


                Who made the payment, if not debtor?




      11.7. Wyatt, Tarrant &Combs, LLP
            400 West Market Street
            Suite 2000
            Louisville, KY 40202-2898                                Legal Consultation                                        01/31/2020               $562.50

                Email or website address


                Who made the payment, if not debtor?




       11.8.    Wyatt, Tarrant &Combs, LLP
                400 West Market Street
                Suite 2000
                Louisville, KY 40202-2898                            Legal Consultation                                        02/29/2020           $11,940.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than properly transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
O~ciai Form 207                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9

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       Case 20-30891-jal                       Doc 1           Filed 03/13/20            Entered 03/13/20 20:51:31                       Page 49 of 81


Debtor      System Solutions of Kentucky, PLC                                                         Case number ~uknoW~~




     ❑ None.

              Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
              Address                                         payments received or debts paid in exchange              was made                           value
      13.1 See attachment 6.13
                                                                                                                                               $15,157,136.57

              Relationship to debtor




              Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     ❑ Does not apply

               Address                                                                                                  Dates of occupancy
                                                                                                                        From-To
      14.1.    10121 Bunsen Way                                                                                         03/05/2014 - 07/31/2019
               Louisville, KY 40299


              Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
   -diagnosing or treating injury, deformity, or disease, or
   - providing any surgical, psychiatric, drug treatment, or obstetric care?

     ■     No. Go to Part 9.
     ❑     Yes. Fill in the information below.


                Facility name and address                     Nature of the business operation, including type of services             If debtor provides meals
                                                              the debtor provides                                                      and housing, number of
                                                                                                                                       patients in debtor's care

              Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      ■     No.
      ❑     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA,401(k~, 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ■     No. Go to Part 10.
      ❑     Yes. Does the debtor serve as plan administrator?


 -~~          Certain Financial Accounts Safe Deposit Boxes, and Storage Units




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 10

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       Case 20-30891-jal                       Doc 1           Filed 03/13/20             Entered 03/13/20 20:51:31                    Page 50 of 81


Debtor      System Solutions of Kentucky, LLC                                                         Case number ~rrknown~




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

     ■ None
           Financial Institution name and                      Last 4 digits of         Type of account or          Date account was             Last balance
           Address                                             account number           instrument                  closed,sold,             before closing or
                                                                                                                    moved, or                         transfer
                                                                                                                    transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


     ■ None

      Depository institution name and address                       Names of anyone with                Description of the contents            Do you still
                                                                    access to it                                                               have it?
                                                                    Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


     ❑ None

      Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                    access to it                                                               have it?
      Q2 Chamberlain                                                David budding                       Office equipment; office               ❑ No
      3520 Chamberlain Lane                                                                             technology (monitors, computer         ■Yes
      Louisville, KY 40241                                                                              towers, cell phones, etc.)



             Propert~r the Debtor Holds or Controls That the Debtor Does Not Own                                                                                  _

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    ■ None


             Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No.
      ❑     Yes. Provide details below.



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 11
                                                                                                                                                 Best Case Bankruptcy
Software Copyright(c) 1996-2020 Best Case, LLC - www.bestcase.com
       Case 20-30891-jal                       Doc 1           Filed 03/13/20            Entered 03/13/20 20:51:31                         Page 51 of 81


Debtor      System Solutions of Kentucky, LLC                                                         Case number ~rrknown~



      Case title                                                   Court or agency name and             Nature of the case                          Status of case
      Case number                                                  address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     ■     No.
     ❑     Yes. Provide details below.

      Site name and address                                        Governmental unit name and               Environmental law, if known             Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

     ■     No.
     ❑     Yes. Provide details below.

      Site name and address                                        Governmental unit name and               Environmental law, if known             Date of notice
                                                                   address

•r~~ Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case
    Include this information even if already listed in the Schedules.

     ■ None

   Business name address                                    Describe the nature of the business             Employer Identification number
                                                                                                            Do not inGude Social Security number or ITIN.

                                                                                                            Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         D None

      Name and address                                                                                                                     Date of service
                                                                                                                                           From-To
      26a.1.      Ed Joyce, Contract Controller                                                                                            07/2019 - 03/10/2020
                  (Robert Half Management Services)
                  9300 Shelbyville Road, Ste. 920
                  Louisville, KY 40222                                                                                                                        _

      26a.2.      Gary Southard                                                                                                            08/2018 - 07/2019
                  (former CFO)


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

          ❑ None

       Name and address                                                                                                                     Date of service
                                                                                                                                            From-To
      26b.1.      BKD, LLP
                  360E 8th Ave.
                  Suite 201
                  Bowling Green, KY 42102
       Name and address                                                                                                                     Date of service
                                                                                                                                            From-To
      26b.2.       Broniec Associates, Inc.
                   P.O. Box 748
                   Norcross. GA 30091


                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 12
O~cial Form 207

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       Case 20-30891-jal                       Doc 1           Filed 03/13/20            Entered 03/13/20 20:51:31                     Page 52 of 81


Debtor      System Solutions of Kentucky, LLC                                                         Case number ~rrknow~~


    26c. List ali firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

          ❑ None

      Name and address                                                                                    If any books of account and records are
                                                                                                          unavailable, explain why
      26c.1.      David budding, CFO
                  9850 Von Ailmen Court
                  Ste. 201
                  Louisville. KY 40241

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ❑ None

      Name and address
      26d.1.  CIBC Bank USA
              120 S. LaSalle St.
                  Chicago IL 60603
      26d.2.      United Parcel Service, Inc.
                  55 Glenlake Parkway NE
                  Atlanta, GA 30328

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

     ❑      No
      ■    Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                        Date of inventory        The dollar amount and basis(cost, market,
               inventory                                                                                           or other basis) of each inventory
      27.1 Ed Joyce                                                                       (partial)
                                                                                          03/11/2020               13,400.00

               Name and address of the person who has possession of
               inventory records
               David budding
               9850 Von Aiimen Court
               Suite 201
               Louisville, KY 40241


28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                         Address                                             Position and nature of any           % of interest, if
                                                                                                        interest                             any
       Lummus Corp                                                                                      Sole Member                           100


       Name                                         Address                                             Position and nature of any           % of interest, if
                                                                                                        interest                             any
       David budding                                                                                    CFO, Treasurer


       Name                                         Address                                             Position and nature of any           % of interest, if
                                                                                                        interest                             any
       Janet Hunt                                                                                       Secretary




O~cial Form 207                                   Statement of Financial Affairs for Non-Individuals Piling for Bankruptcy                                 page 13

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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                    Page 53 of 81


Debtor      System Solutions of Kentucky, LLC                                              _           Case number ~rrknoWn~



      Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                         interest                           any
      Phil Di lorio                                                                                      Chairman


      Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                         interest                           any
      Guy Phillips                                                                                       VP




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ❑      No
     ■     Yes. Identify below.

      Name                                          Address                                              Position and nature of any     Period during which
                                                                                                         interest                       position or interest
                                                                                                                                        was held
      Ben Hinnen                                                                                         President and CEO              03/2018 - 07/2019



      Name                                          Address                                              Position and nature of any     Period during which
                                                                                                         interest                       position or interest
                                                                                                                                        was held
       Michelle Hikes                                                                                    VP &CFO                        05/2018 - 01/2019



       Name                                         Address                                              Position and nature of any     Period during which
                                                                                                         interest                       position or interest
                                                                                                                                        was held
      Gary Southard                                                                                      VP and acting CFO              06/2019 - 07/2019




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      ❑     No
      ■     Yes. Identify below.

              Name and address of recipient                    Amount of money or description and value of              Dates           Reason for
                                                               property                                                                 providing the value
                                                                _ _ __                                                  08/2019 _       Reimbursement of
      30.1 David Duddinq


              Relationship to debtor
              CFO

                                                                                                                        03/20/2019 -    Reimbursement of
       30.2
                                                               972.31                                                   03/13/2020      expenses

              Gary Southard                                                                                             03/22/2019 -
                                                               60,568.14                                                07/26/2019      Salary

              Relationship to debtor
              Former CFO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
Official Form 207                                  Statement of Financial Affairs for Non•Individuals Piling for Bankruptcy                               page 14
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       Case 20-30891-jal                       Doc 1            Filed 03/13/20            Entered 03/13/20 20:51:31                    Page 54 of 81


Debtor      System Solutions of Kentucky, LLC                                                          Case number ~;rknow~~




      ❑     No
      ■    Yes. Identify below.

     Name of the parent corporation                                                                          Employer Identification number of the parent
                                                                                                             corporation
   Lummus Corporation                                                                                        EIN:      XX-XXXXXXX


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■     No
      ❑     Yes. Identify below.

     Name of the pension fund                                                                                Employer Identification number of the parent
                                                                                                             corporation

••           Signature and Declaration                                                                             _

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

       have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

       declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 13. 2020

/s/ David budding                                                      David budding
Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor        CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy(Official Form 207)attached?
■ No
❑ Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 15
Software Copyright(c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                                Attachment 6.13 to Statement of Financial Affairs
   List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the
  debtor within 2 years before the filing of this case to another person, other than property tranferred in the ordinary course of business or
      financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed.

                Transferee                 Relationship to Debtor                Property Transferred               Date of Transfer   Value of Property
                                                                                                                                                            Case 20-30891-jal




1P Morgan Chase                   UPS Receivables Purchaser                  Assignment and Sale of UPS A/R           01/23/19 -           $15,110,661.47
                                                                                                                       04/11/19
Wells Fargo Bank N.A.             Lender                                   Security Interest in 2 Clark Forklifts      07/26/18
                                                                                                                                                            Doc 1




Wells Fargo Bank N.A.             Lender                                   Security Interest in 4 Clark Forklifts      06/12/18
Wells Fargo Bank N.A.             Lender                                   Security Interest in 4 Clark Forklifts      06/06/18
CGI Mechanical Services           Third Party Purchaser                                  Golf Cart                     04/20/19                   $150.00
Art 2 Part, Inc.                  Third Party Purchaser                                  Golf Cart                     04/20/19                   $200.00
Art 2 Part, Inc.                  Third Party Purchaser                              Sure Trac Trailer                 04/25/19                   $500.00
Art 2 Part, Inc.                  Third Party Purchaser                              2014 Ford F-250                   04/25/19                 $5,000.00
DF+I, LLC                         Third Party Purchaser                            Welding Equipment                   04/10/19                 $3,500.00
Art 2 Part, Inc.                  Third Party Purchaser                      Piranha Ironworker Model P65              04/16/19                   $700.00
                                                                                                                                                            Filed 03/13/20




DF+I, LLC                         Third Party Purchaser                                     Fans                       04/03/19                   $100.00
DF+I, LLC                         Third Party Purchaser                              Shop Equipment                    04/03/19                 $1,225.00
Carter Control Systems, RC        Third Party Purchaser                                    Tools                       04/18/19                   $400.00
Legacy                            Third Party Purchaser                                   Welder                                                $1,250.00
DF+I, LLC                         Third Party Purchaser                             Vertical Band Saw                  04/03/19                 $5,000.00
Legacy                            Third Party Purchaser                          (4) Clark CZSC forklifts              04/16/19                 $5,500.00
Legacy                            Third Party Purchaser                         (2) Clark CGC40 forklifts              04/16/19                 $5,500.00
                                  Third Party Purchaser                         Bizhub 558E B&W Copier                                            $400.00
                                  Third Party Purchaser                         Bizhub C458 Color Copier                                          $800.00
DF+I, LLC                         Third Party Purchaser                     FMB Pegasus CV Model Band Saw              04/10/19                 $1,500.00
D.G. Industries, Inc.             Third Party Purchaser                                    Scrap                       04/08/19                   $500.00
DFW Recyclers, LLC                Third Party Purchaser                                    Scrap                       04/03/19                 $1,201.00
ISA Recycling                     Third Party Purchaser                                    Scrap                       04/10/19                   $851.50
                                  Third Party Purchaser                                    Scrap                       03/22/19                 $5,192.60
                                                                                                                                                            Entered 03/13/20 20:51:31




ISA Recycling
DF+I, LLC                         Third Party Purchaser                                    Scrap                       04/10/19                   $130.00
Carter Control                    Third Party Purchaser                                  Unknown                       04/18/19                 $3,600.00
John Ross Hendrix                 Third Party Purchaser                                    Scrap                       04/25/19                   $600.00
Art 2 Part, LLC                   Third Party Purchaser                                    Scrap                       04/16/19                   $600.00
John D. Gingerich                 Third Party Purchaser                                    Scrap                       04/18/19                 $1,250.00
DF+I, LLC                         Third Party Purchaser                                    Desks                       04/10/19                   $825.00
                                                                                                                                                            Page 55 of 81
                                                Attachment 6.13 to Statement of Financial Affairs
   list any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the
  debtor within 2 years before the filing of this case to another person, other than property tranferred in the ordinary course of business or
      financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed.

              Transferee                  Relationship to Debtor                  Property Transferred         Date of Transfer   Value of Property
                                                                                                                                                       Case 20-30891-jal




                                                                                      Cannon Copier
                                                                               Konica Copier - Bizhub 421
                                                                                     Security System
                                                                                   Security System-WT
                                                                                                                                                       Doc 1




                                                                                        Computers
                                                                                        Computers
                                                                                        Computers
                                                                                        Computers
                                                                                        Computers
                                                                            Dell Latitude 7480 BTX Notebook
                                                                            Dell Latitude 7480 BTX Notebook
                                                                                      Dell Area 51 R4
                                                                                                                                                       Filed 03/13/20




                                                                                                                    Total:            $15,157,136.57




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                                                                                                                                                       Page 56 of 81
Case 20-30891-jal      Doc 1    Filed 03/13/20     Entered 03/13/20 20:51:31       Page 57 of 81




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

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 SYSTEM SOLUTIONS OF KENTUCKY,LLC                         Case No.

                       DEBTOR.                            Chapter 7


         NOTES AND STATEMENT OF LIMITATIONS,METHODOLOGY,
    AND DISCLAIMERS REGARDING THE DEBTOR'S SCHEDULES OF ASSETS
         AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        Systems Solutions of Kentucky, Inc. ("Debtor") has filed its Schedules of Assets and

Liabilities (the "Schedules") and Statement of Financial Affairs ("SOFA") in the United States

Bankruptcy Court for the Western District of Kentucky. The Debtor prepared the Schedules and

the SOFA in accordance with section 521 of chapter 11 of title 11 of the United States Code (the

"Bankruptcy Code")and Rule 1007 ofthe Federal Rules of Bankruptcy Procedure.

        In preparing the Schedules and SOFA,the Debtor relied on financial data derived from its

books and records that was available at the time of preparation. Mr. budding has signed the

Schedules and SOFA,and will serve as the corporate representative ofthe Debtor in the Chapter 7

case. Although Mr. budding has made every commercially reasonable effort to ensure the

accuracy and completeness ofthe Schedules and SOFA,subsequent information or discovery may

result in material changes to the Schedules and SOFA. For the avoidance of doubt, the Debtor

reserves its right to amend and supplement the Schedules and SOFA as may be necessary or

appropriate. In no event shall the Debtor or its corporate representative, agent, or attorneys be

liable to any third party for any direct, indirect, incidental, consequential, or special damages

(including, but not limited to, damages arising from the disallowance of a potential claim against
Case 20-30891-jal      Doc 1     Filed 03/13/20       Entered 03/13/20 20:51:31      Page 58 of 81




the Debtor or damages to business reputation, lost business, or lost profits), whether foreseeable

or note and however caused,even ifthe debtor or its corporate representative, agents, and attorneys

are advised of the possibility of such damages. The Debtor and its representative, agents, and

attorneys expressly do not undertake any obligation to update, modify, revise, or re-categorize the

information provided herein, or to notify any third party should the information be updated ,

modified, revised, or re-categorized, except as required by applicable law.

                             Notes and Overview of Methodology

1.     Notes Control. These Notes pertain to and comprise an integral part of each of the

       Schedules and Statement of Financial Affairs ("SOFA") and should be referenced in

       connection with any review thereof. In the event that the Schedules and SOFA conflict

       with these Notes, these Notes shall control.

2.     No Admission. Nothing contained in the Schedules and SOFA is intended or should be

       construed as an admission or stipulation of the validity of any claim against the Debtor,

       any assertion made therein or herein, or a waiver ofthe Debtor's rights to dispute any claim

       or assert any cause of action or defense against any party.

3.     Re-characterization. Notwithstanding that the Debtor has made reasonable efforts to

       correctly characterize, classify, categorize, or designate certain claims, assets, executory

       contracts, unexpired leases, and other items reported in the Schedules and SOFA, the

       Debtor nonetheless may have improperly characterized, classified, categorized, or

       designated certain items. The Debtor thus reserves all rights to re-characterize, reclassify,

       re-categorize, or re-designate items reported in the Schedules and SOFA at a later time as

       is necessary and appropriate.




                                                2
Case 20-30891-jal     Doc 1    Filed 03/13/20      Entered 03/13/20 20:51:31         Page 59 of 81




4.    Classifications. Listing (i) a claim on Schedule D as "secured," (ii) a claim on Schedule

      E/F as "priority" or "unsecured," or (iii) a contract on Schedule G as "executory" or

     "unexpired" does not constitute an admission by the Debtor of the legal rights of the

      claimant or contract counterparty, or a waiver of the Debtor's rights to re-characterize or

     reclassify such claim or contract.

5.    Claims Description. Any failure to designate a claim on a given Debtor's Schedules and

     SOFA as "disputed," "contingent," or "unliquidated" does not constitute an admission by

     the Debtor that such amount is not "disputed,""contingent," or "unliquidated." The Debtor

     reserves all rights to dispute, or assert offsets or defenses to, any claim reflected on its

     respective Schedules and SOFA on any grounds, including, withoutlimitation, liability or

     classification, or to otherwise subsequently designate such claims as "disputed,"

     "contingent," or "unliquidated" or object to the extent, validity, enforceability, priority, or

     avoidability of any claim. Moreover, listing a claim does not constitute an admission of

     liability by the Debtor against which the claim is listed or by any ofthe Debtor. The Debtor

     reserves all rights to amend its Schedules and SOFA as necessary and appropriate,

     including, but not limited to, with respect to claim description and designation.

6.   Estimates and Assumptions. The preparation of the Schedules and SOFA required the

     Debtor to make reasonable estimates and assumptions with respect to the reported amounts

      of assets and liabilities, the amount of contingent assets and contingent liabilities on the

      date of the Schedules and SOFA, and the reported amounts of revenues and expenses

     during the applicable reporting periods. Actual results could differ from such estimates.




                                               3
Case 20-30891-jal     Doc 1     Filed 03/13/20       Entered 03/13/20 20:51:31     Page 60 of 81




7.   Intellectual Property Rights. Exclusion of certain intellectual property should not be

      construed to be an admission that such intellectual property rights have been abandoned,

      have been terminated or otherwise expired by their terms, or have been assigned or

      otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,

     inclusion of certain intellectual property should not be construed to be an admission that

     such intellectual property rights have not been abandoned, have not been terminated or

      otherwise expired by their terms, or have not been assigned or otherwise transferred

      pursuant to a sale, acquisition, or other transaction.


8.   Insiders. In the circumstance where the Schedules and SOFA require information

     regarding "insiders" the Debtor has included information with respect to the individuals

      who the Debtor believes are included in the definition of "insider" set forth in section

      101(31) of the Bankruptcy Code during the relevant time periods. Any such individuals

      may no longer serve in such capacities. The listing of a party as an insider for purposes of

     the Schedules and SOFA is not intended to be, nor should it be, construed an admission of

      any fact, right, claim, or defense, and all such rights, claims, and defenses are hereby

      expressly reserved.     Information regarding the individuals listed as insiders in the

      Schedules and SOFA has been included for informational purposes only and such

     information may not be used for the purposes of determining control of the Debtor, the

     extent to which any individual exercised management responsibilities or functions,

     corporate decision-making authority over the Debtor, or whether such individual could

     successfully argue that he, she, or it is not an insider under applicable law, including the

     Bankruptcy Code or with respect to any theories of liability or any other purpose.


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Case 20-30891-jal    Doc 1     Filed 03/13/20      Entered 03/13/20 20:51:31    Page 61 of 81




9.    Methodology.

     (a)    Basis of Presentation. The Schedules and SOFA do not purport to represent

            financial statements prepared in accordance with Generally Accepted Accounting

            Principles in the United States ("GAAP"), nor are they intended to be fully

            reconciled to the financial statements of each Debtor. The Schedules and SOFA

            contain unaudited information that is subject to further review and potential

            adjustment. The Schedules and SOFA reflect the Debtor's reasonable efforts to

            report the assets and liabilities ofthe Debtor.

     (b)    Duplication. Certain of the Debtor's assets, liabilities, and prepetition payments

            may properly be disclosed in response to multiple parts ofthe SOFA and Schedules.

            To the extent these disclosures would be duplicative, the Debtor has determined to

            only list such assets, liabilities and prepetition payments once.

     (c)    Unknown Amounts.             The description of an amount as "unknown,"

           "undetermined" or "unspecified" is not intended to reflect upon the materiality of

            such amount.

     (d)    Unliquidated Amounts. Amounts that could not be fairly quantified by the Debtor

            are scheduled as "unliquidated."

     (e)    Totals. All totals that are included in the Schedules and SOFA represent totals of

            all listed amounts. To the extent there are unknown or undetermined amounts, the

            actual total may be different than the listed total.

     (~     Guarantees and Other Secondary Liability Claims. The Debtor has exercised

            reasonable efforts to locate and identify guarantees in its executory contracts,




                                               E
Case 20-30891-jal    Doc 1    Filed 03/13/20     Entered 03/13/20 20:51:31         Page 62 of 81




            unexpired leases, secured financings, and other such agreements.              Where

            guarantees have been identified, they have been included in the relevant Schedules

            G and H for the affected Debtor or Debtors. The Debtor may have inadvertently

            omitted guarantees embedded in its contractual agreements and may identify

            additional guarantees as its continues its review of its books and records and

            contractual agreements. The Debtor reserves its rights, but are not required, to

            amend the Schedules and SOFA if additional guarantees are identified.

      (g)   Excluded Assets and Liabilities.        The Debtor has excluded the following

            categories of assets and liabilities from the Schedules and SOFA: certain deferred

            chaxges, accounts, or reserves recorded only for purposes of complying with the

            requirements of GAAP; deferred tax assets and liabilities; goodwill and other

            intangibles; deferred revenue accounts; and certain accrued liabilities including, but

            not limited to, accrued salaries and employee benefits. Other immaterial assets and

            liabilities may also have been excluded.

      (h)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

10.   Specific Schedules Disclosures.

            Part 2 -Creditors with Nonpriority Unsecured Claims. The Debtor has made

            reasonable efforts to report all general unsecured claims against the Debtor on

             Schedule E/F, Part 2, based upon the Debtor's existing books and records. The

             claims of individual creditors for among other things, products, goods or services

             are listed as either the lower ofthe amounts invoiced by the creditor or the amounts

             entered on the Debtor's books and records and may not reflect credits or allowances
Case 20-30891-jal   Doc 1     Filed 03/13/20     Entered 03/13/20 20:51:31       Page 63 of 81




            due from such creditors to the Debtors. The Debtor reserves all rights with respect

           to any such credits and allowances including the right to assert claims objections

            and/or setoffs. The claims listed on Schedule E/F, Part 2, arose or were incurred

            on various dates. In certain instances, the date on which a claim arose is an open

            issue offact. While commercially reasonable efforts have been made, determining

            the date upon which each claim in Schedule E/F, Part 2, was incurred or axose

            would be unduly burdensome and cost prohibitive and, therefore, the Debtor may

            not have included a date for each claim listed on Schedule E/F, Part 2.


            Schedule E/F, Part 2, contains information regarding threatened or pending

            litigation involving the Debtor. The amounts for these potential claims are listed

            as "unknown" or "undetermined" and are marked as contingent, unliquidated, and

            disputed in the Schedules and SOFA.

     (a)    Schedule G —Executory Contracts and Unexpired Leases. While reasonable

            efforts have been made to ensure the accuracy of Schedule G,inadvertent errors or

            omissions may have occurred. In the past, the Debtor was party to a number of

            contracts for provision of goods and services to its customers. While Debtor

            believes that all such contracts have been terminated, it is possible that as a

            technical matter one or more contracts have not been terminated. As a practical

            matter, performance has ceased on all customer contracts.

     (b)    Schedule H — Co-Debtors. The Debtor has not listed any litigation-related

            Co-Debtors on Schedule H. Instead, all such listings can be found on the Debtor's

            Schedule E/F.


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Case 20-30891-jal    Doc 1    Filed 03/13/20     Entered 03/13/20 20:51:31        Page 64 of 81




11.   Specific Schedules Disclosures.

      (a)    Schedule A/B Assets, Line 77. Other property of any kind not already listed.

             The Debtor reserves all rights, claims, and defenses in connection with any and all

            intercompany transactions and balances related thereto, including with respect to

            the characterization ofintercompany account balances, receivables and payables.

12.   Specific SOFA Disclosures.

      (a)    SOFA, Part 2, Question 4 —Payments and transfers made within one year

             before the filing of this case on debts owed to an insider.

             The Debtor reserves all rights, claims, and defenses in connection with any and all

             intercompany transactions and balances related thereto, including with respect to

             the characterization of intercompany account balances, receivables and payables.



             In the ordinary course of their businesses, Lummus Corporation sold goods to the

             Debtor, and the two entities shared certain expenses. These transactions were

             recorded on an intercompany account jointly maintained by the entities, and

             recorded as either a payable or a receivable of each entity. These payables and

             receivables were netted out each month, with the result adjusting the balance ofthe

             intercompany account. In the year before the Chapter 7 was filed, SSK was debited

             $669,915,81 for goods purchased from and expenses reimbursed to Lummus

             Corporation.
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31    Page 65 of 81




                                        Respectfully submitted,


                                         /s/Mary L. Fullington
                                        Mary L. Fullington
                                        WYATT,TARRANT &COMBS,LLP
                                        250 West Main Street, Suite 1600
                                        Lexington, Kentucky 40507-1746
                                        Telephone: (859)233-2012
                                        Facsimile: (859)259-0649
                                        Email: mfullington@wyattfirm.com

                                        Counselfog Debtor, System Solutions of
                                        Kentucky, LLC




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         Case 20-30891-jal                     Doc 1          Filed 03/13/20       Entered 03/13/20 20:51:31                     Page 66 of 81


62030(Form 2030)(12/15)
                                                            United States Bankruptcy Court
                                                                   Western District of Kentucky
 In re      System Solutions of Kentucky LLC                                                                 Case No.
                                                                               Debtors)                      Chapter

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS)
      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtors)and that
      compensation paid to me within one year before the filing ofthe petition in banlauptcy, or agreed to be paid to me,for services rendered or to
      be rendered on behalf ofthe debtors) in contemplation of or in connection with the buikruptcy case is as follows:
           For legal services, I have agreed to accept                                                 $               35,000.00
             Prior to the filing ofthis statement I have received                                        $                 25,076.30
             Balance Due                                                                                 $                  9,923.70

2.    The source of the compensation paid to me was:
             ■ Debtor             ❑ Other (specify):

3.    The source of compensation to be paid to me is:
             ■ Debtor             ❑ Other (specify):

4.       ■ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         O I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy ofthe ageement,together with a list ofthe names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects ofthe bankruptcy case, including:

      a. Analysis ofthe debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in banla•uptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation ofthe debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Communications with and production of additional information to Chapter 7 Trustee, if needed; Representation in
              connection with any 2004 Examination/Document Production in this Chapter 7 case.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the Debtor in any adversary proceeding in connection with this Chapter 7 case.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation ofthe debtors) in
 this bankruptcy    proceeding.

     March 13, 2020                                                            /s/ Mary L. Fullington                             _.
     Date                                                                      Mary L. Fullington
                                                                               Sagnature ofAttorney
                                                                               Wyatt, Tarrant &Combs, LLP
                                                                               250 W. Main Street
                                                                               Suite 1600
                                                                               Lexington, KY 40507
                                                                               859- 233-2012 Fax: 859-259-0649
                                                                               lexbankruptcy@wyattfirm.com
                                                                               Name oflawfirm




                                                                                                                                          Best Case Bankruptcy
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         Case 20-30891-jal                     Doc 1           Filed 03/13/20       Entered 03/13/20 20:51:31       Page 67 of 81




                                                             United States Bankruptcy Court
                                                                    Western District of Kentucky
 In re         stem Solutions of Kentucky LLC                                                      Case No.
                                                                                Debtors)           Chapter



                                             VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:        March 13, 2020                                            /s/ David budding
                                                                       David budding/CFO
                                                                       Signer/Title




                                                                                                                              Best Case Bankruptcy
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Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 68 of 81




                      Accurate Electric, Inc.
                      2309 West Arbrook Blvd
                      Arlington, TX 76015


                       Advance Fabricators
                       980 Progress Blvd
                       New Albany, IN 47150


                       ADVANCED SOLUTIONS
                       1901 Nelson Miller Pkwy
                       Louisville, KY 40223


                       AHERN RENTALS
                       1401 Mineral Ave
                       Las Vegas, NV 89106


                       AI International, Inc.
                       8055A National Turnpike
                       Louisville, KY 40214


                       AIR COMPRESSOR WORKS
                       7292 NW 25th Street
                       Miami, FL 33122


                       Airgas USA CA
                       PO Box 7423
                       Pasadena, CA 91109


                       Airgas USA GA
                       PO Box 532609
                       Atlanta, GA 30353


                       AIRGAS USA IL
                       PO Box 802576
                       Chicago, IL 60680-2576


                       Airgas USA TX
                       PO Box 676015
                       Dallas, TX 75267


                       Alliant Technologies
                       2080 Nelson Miller Pkwy
                       Louisville, KY 40223
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 69 of 81




                      Allied Electronics and Automation
                      7151 Jack Newell Blvd S.
                      Fort Worth, TX 76118


                      ARGI Building Group, LLC
                      2201 High Wickham Place
                      Louisville, KY 40245


                       ATRONIX Engineering, Inc.
                       3100 Medlock Bridge Rd, Suite 110
                       Peachtree Corners, GA 30071


                       B&B Conveyors LLC
                       1006 Turner Camp Road
                       Inverness, FL 34453


                       BABST, CALLAND, CLEMENTS & ZOMNIR, P.C.
                       6th Floor
                       Pittsburgh, PA 15222


                       Baxter Bailey & Associates, Inc.
                       1630 Goodman Rd.
                       Suite 1
                       Southaven, MS 38671


                       BDI
                       281 Shore Drive, Unit B
                       Burr Ridge, IL 60527


                       Bearing Headquarters
                       PO Box 6267
                       Broadview, IL 60155-6267


                       Bryant Products, Inc.
                       W1388 Elmwood Ave
                       Ixonia, WI 53036


                       Cactus Welding, Inc.
                       13905 S. 154th St
                       Gilbert, AZ 85296


                       Cardinal Carryor
                       PO Box 32156
                       Louisville, KY 40232
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 70 of 81




                      CED, INC/E&H ELECTRIC SUPPLY
                      PO Box 221229
                      Louisville, KY 40252


                      Central Expanded Metal
                      1213 N. Industrial Rd
                      Chandler, OK 74834


                      CIBC Bank USA
                      3343 Peachtree Rd Ste. 750
                      Attn: Timothy P. Roberts
                      Atlanta, GA 30326


                       CINTAS CORPORATION N0.2
                       PO Box 625737
                       Cincinnati, OH 45262


                       CITY ELECTRIC SUPPLY CO.
                       400 South Record Street, Ste. 300
                       Dallas, TX 75202


                       CL Rieckoff
                       26265 Northline Rd
                       Taylor, MI 48180


                       CONVEYOR CONCEPT
                       1110 Westcliffe Dr
                       Little Rock, AR 72210


                       COPPER STATE BOLT & NUT CO.
                       3622 N. 34th Ave
                       Phoenix, AZ 85017


                       COYOTE LOGISTICS LLC
                       2545 W Diversey Ave, 3rd Floor
                       Chicago, IL 60647


                       Dalmatian Fire
                       1651 Watterson Trail
                       Louisville, KY 40299


                       Delta Services
                       4676 Jennings Ln
                       Louisville, KY 40218
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 71 of 81




                      Design Fabricators and Integrators
                      6600 Artisan Way
                      Louisville, KY 40228


                      DFW Conveyor LLC
                      405 Bluebonnet Trail
                      Garland, TX 75043


                      DG Industries
                      PO Box 753
                      Mt. Washington, KY 40447


                       Dragon Disposal, LLC
                       5207 N Black Canyon Hwy
                       Phoenix, AZ 85015


                       EASI, LLC
                       PO Box 198531
                       Atlanta, GA 30384-8531


                       EMIT, Inc.
                       315 Wilhagan Rd
                       Nashville, TN 37217


                       Equipment Depot LTD
                       4820 Crittenden Dr, Suite 200
                       Louisville, KY 40209


                       Everglades Steel Corporation
                       PO Box 667510
                       Miami, FL 33166


                       FABTRATION, LLC
                       526 Maplewood Blvd
                       Georgetown, IN 47122


                       Fast Global Solutions
                       PO Box 249
                       Glenwood, MN 56334-0231


                       Fastenal
                       PO Box 1286
                       Winona, MN 55987-1286
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 72 of 81




                      FEDEX FREIGHT
                      PO Box 223125
                      Pittsburgh, PA 15251-2125


                      Ferrellgas
                      PO Box 173940
                      Denver, CO 80217-3940


                       Fives Intralogistics Corp
                       500 East Burnett Ave
                       Louisville, KY 40217-1120


                       FN Sheppard, Inc.
                       PO Box 18520
                       Erlanger, KY 41018


                       Forbo
                       8 Maplewood Drive
                       Humboldt Industrial Park
                       Hazleton, PA 18202


                       Godfrey Propane
                       2947 W Division St
                       Arlington, TX 76012


                       Grainger
                       1901 Plantside Dr
                       Louisville, KY 40299


                       Gulf States Saw & Machine
                       3416 Davey Allison Blvd
                       Hueytown, AL 35023


                       Habasit Belting
                       PO Box 277416
                       Atlanta, GA 30384-7416


                       Harbor Steel Supply
                       PO Box 4250
                       Muskegon, MI 49444


                       HEC Manufacturing
                       222 W. John Rowan
                       Bardstown, KY 40004
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 73 of 81




                      Herc Rentals, Inc.
                      27500 Riverview Center Blvd, Ste. 100
                      Bonita Springs, FL 34134


                       Holston Gases
                       368 Terry Blvd
                       Louisville, KY 40229


                       Hytrol Conveyor Co., Inc.
                       2020 Hytrol St
                       Jonesboro, AR 72401


                       Industrial Belting & Transmission
                       4061 McCollum Ct
                       Louisville, KY 40232


                       Industrial Metal Supply Co
                       5150 S 48th St
                       Phoenix, AZ 85040


                       INTRALOX
                       301 Plantatation Road
                       New Orleans, LA 70123


                       IPC Lyndon, LLC
                       284 Bodwell Street
                       Avon, MA 02322


                       Iron Native Welding
                       14800 W Edgemont Ave
                       Goodyear, AZ 85395


                       J & J TRANSPORTATION
                       PX Box 99415
                       Louisville, KY 99415


                       J Rose Construction
                       1140 Tierra Huichol
                       Anthony, NM 88021


                       J.E.Manzi & Associates
                       826 Busse Hwy
                       Park Ridge, IL 60068
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 74 of 81




                       JCK USA Limited
                       1335 Canton Rd
                       Marietta, GA 30066


                       John S. James Co.
                       PO Box 2166
                       Savannah, GA 31402


                       Kentuckiana Tool Supply
                       139 Grant Court
                       Mount Washington, KY 40047


                       Kentuckiana Wire Rope & Supply
                       3335 Industrial Pkwy
                       Jeffersonville, IN 47130


                       Konica Minolta
                       10300 Ormsby Park Pl #502
                       Louisville, KY 40223


                       Landstar Ligon, Inc.
                       13410 Sutton Park Dr South
                       Jacksonville, FL 32224


                       Canning Chemical Co.
                       3000 Griffiths Ave
                       Louisville, KY 40212


                       LawnPro
                       3007 Sprowl Road
                       Louisville, KY 40299


                       LEAF
                       2005 Market Street, 14th Floor
                       Philadelphia, PA 19103


                       LEWCO
                       706 Lane Street
                       Sandusky, OH 44870


                       Lighthouse Transportation
                       563 Tevino Ridge
                       Crestview Hills, KY 41017
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 75 of 81




                      LLR ELECTRIC, INC.
                      4802 E Ray Rd Ste 23 PMB 209
                      Phoenix, AZ 85044


                       Logic Systematic, LLC
                       10470 Hobson Street
                       Spring Hill, FL 34608


                       Louisville Bats
                       401 East Main Street
                       Louisville, KY 40202


                       Lummus Corp.
                       225 Bourne Blvd
                       Savannah, GA 31408


                       Material Handling Systems, Inc.
                       131 Griffin Way
                       Mount Washington, KY 40047


                       McMASTER-CARR
                       PO Box 7690
                       Chicago, IL 60680-7690


                       Mercer Transportation
                       PO Box 644011
                       Pittsburgh, PA 15264-4011


                       Miami Valley Steel
                       2 O l Fox Drive
                       Piqua, OH 45356


                       Midwest Machine Service
                       5632 LVest Pleasant Blvd
                       Chicago Ridge, IL 60415


                       Mitchell Mechanical, LLC
                       365 Waterway Rd
                       Oxford, PA 19163


                       Mobile Mini
                       4646 E Van Buren St, Ste. 400
                       Phoenix, AZ 85008
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 76 of 81




                       Mode Transportation
                       17330 Preston Road, Ste. 200C
                       Dallas, TX 75252


                       MWS METAL WELDING SERVICE INC.
                       4671 Cheryl Lane
                       Kaufman, TX 75142


                       Nabholz Industrial Services
                       307 W. Stribling
                       PO Box 277
                       Rogers, AR 72756


                       National Construction Rentals, Inc.
                       15319 Chatsworth St
                       Mission Hills, CA 91345


                       O'Neal Steel Inc.
                       PO Box 934243
                       Atlanta, GA 31193-4243


                       Old Dominion Freight Line
                       1400 S Louis Coleman Jr Dr
                       Louisville, KY 40211


                       Oradell Construction Co., Inc.
                       37 Woodland Road, Ste. 3
                       Roseland, NJ 07068


                       PPG
                       PO Box 536864
                       Atlanta, GA 30353-6864


                       Precision Pulley & Idler
                       300 S.E. 14th Street
                       Pella, IA 50219


                       PROLINK RESOURCES
                       10700 Montgomery Rd
                       Cincinnati, OH 45242


                       Q2 Chamberlain
                       3520 Chamberlain Lane
                       Louisville, KY 40241
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 77 of 81




                       Quality Supply & Tool
                       PO Box 1400
                       Greenwood, IN 46142


                       R & M welding Products
                       105 Willliams Way
                       Wilder, KY 41076


                       Ralphs-Pugh Co.
                       3931 Oregon Street
                       Benicia, CA 94510


                       Reflex Graphics
                       1902 Campus Place, #11
                       Louisville, KY 40299


                       Regal Temporary Services
                       424 E Lamar Blvd #102
                       Arlington, TX 76011


                       REPUBLIC SERVICES #794
                       18500 N Allied Way
                       Phoenix, AZ 85054-6164


                       Ridley Excavating
                       PO Box 412
                       Glen Mills, PA 19342


                       Rightline Warehouse Solutions
                       2822 Commerce Park Drive, Ste. 400
                       Orlando, FL 32819


                       RYAN MECHANICAL COMPANY
                       1325 N Mondel Dr
                       Gilbert, AZ 85233


                       SAGUARO STEEL INDUSTRIES, LLC
                       3547 W . Lower Buckeye Rd
                       Phoenix, AZ 85009


                       Schuler Manufacturing
                       1500 South 10th Street
                       Louisville, KY 40210
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 78 of 81




                       SERVPRO of East Louisville
                       1929 Production Drive
                       Louisville, KY 40299


                       Sherwin Williams
                       9203 Sutton Pl
                       Hamilton, OH 45011


                       SIEGEL GAS
                       20052 NW 89th Ave
                       Medley, FL 33178


                       Spray Tech Systems, INC
                       1025A Enterprise Ave
                       Oklahoma City, OK 73128


                       SSK Lummus LLC
                       225 Bourne Blvd
                       Savannah, GA 31408


                       St Onge
                       1400 Williams Rd
                       York, PA 17402


                       Stock Manufacturing
                       10040 Cilley Rd
                       Cleves, OH 45002


                       SUMITOMO
                       PO Box 60638
                       Charlotte, NC 28260-0638


                       Sunbelt Finance, LLC
                       2900 Browns Lane
                       Jonesboro, AR 72401


                       Sunbelt Rentals
                       5701 Chapel Hill Rd
                       Raleigh, NC 27697


                       System One Holdings, Inc.
                       12 Federal Street, Suite 205
                       Pittsburgh, PA 15212
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 79 of 81




                       System Solutions Holdings, LLC
                       225 Bourne Blvd
                       Savannah, GA 31408


                       TERRACON
                       10841 S. Ridgeview Road
                       Olathe, KS 66061


                       Thackray Crane Rental, Inc.
                       2071 Byberry Rd
                       Philadelphia, PA 19116


                       Thoroughbred Transportation
                       PO Box 991274
                       Louisville, KY 40269-0415


                       Three D Properties LLC
                       711 Winding Oaks Trail
                       Louisville, KY 40223


                       TOLLESON STEEL
                       9204 W Van Buren St
                       Tolleson, AZ 85353


                       TOTTEN TUBES, INC
                       1605 S. 39th Ave
                       Phoenix, AZ 85009


                       Transnorm
                       2810 Avenue E East
                       Arlington, TX 76011


                       Uline
                       PO Box 88741
                       Chicago, IL 60680


                       United Parcel Service, Inc.
                       55 Glenlake Pkwy NE
                       Atlanta, GA 30328


                       United Rentals
                       6125 Lakeview Road, Suite 300
                       Charlotte, NC 28269
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 80 of 81




                       UPS
                       55 Glenlake Pkwy NE
                       Atlanta, GA 30328


                       UPS Freight
                       28013 Network Place
                       Chicago, IL 60673-1280


                       US Nut & Bolt
                       PO Box 88671
                       Chicago, IL 60680-1671


                       Van Gorp Corporation
                       1410 Washington St
                       Pella, IA 50219


                       Vanriet Material Handling Systems
                       PO Box 416
                       3990 GE Houten NETHERLANDS


                       Verizon
                       500 Technology Drive, Suite 550
                       Weldon Spring, MO 63304


                       Vern Lewis Welding Supply, Inc.
                       133 N 21st Ave
                       Phoenix, AZ 85009


                       WASTE MANAGEMENT LOUISVILLE HAULING
                       7501 Grade Ln
                       Louisville, KY 40219


                       Waste Management of PA Inc.
                       600 Tyburn Road
                       Morrisville, PA 19067


                       WELLS FARGO EQUIPMENT FINANCE
                       420 Montgomery Street
                       San Francisco, CA 94104


                       WHITE WATER II LLC
                       301 S 29th St
                       Phoenix, AZ 85034
Case 20-30891-jal   Doc 1   Filed 03/13/20   Entered 03/13/20 20:51:31   Page 81 of 81




                       WM Kelley Co.
                       620 Durgee Rd
                       New Albany, IN 47150


                       XPOLogistics
                       Five American Lane
                       Greenwich, CT 06831
